Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 1 of 70 Page ID #:1



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5
6                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
7                                  (Western Division)
8    ALLEN L. MUNRO, DANIEL C.
     WHEELER, EDWARD E. VAYNMAN,
9    JANE A. SINGLETON, SARAH
     GLEASON, AND REBECCA A. SNYDER,
10   individually and as representatives of a class      Civil Action No. 16-cv-6191
     of participants and beneficiaries on behalf of
11   the University of Southern California Defined       COMPLAINT—CLASS
     Contribution Retirement Plan and the                ACTION
12   University of Southern California Tax-
     Deferred Annuity Plan,                              JURY TRIAL DEMANDED
13
                                 Plaintiffs,
14   v.
15   UNIVERSITY OF SOUTHERN
     CALIFORNIA, USC RETIREMENT PLAN
16   OVERSIGHT COMMITTEE, AND LISA
     MAZZOCCO,
17
                                 Defendants.
18
                1.    Plaintiffs Allen L. Munro, Daniel C. Wheeler, Edward E. Vaynman,
19
     Jane A. Singleton, Sarah Gleason, and Rebecca A. Snyder, individually and as
20
     representatives of a class of participants and beneficiaries of the University of
21
     Southern California Defined Contribution Retirement Plan and the University of
22
     Southern California Tax-Deferred Annuity Plan (herein collectively referred to as
23
     the “Plans”), bring this action under 29 U.S.C. §1132(a)(2) and (3) on behalf of the
24
     Plans against Defendants University of Southern California, the USC Retirement
25
     Plan Oversight Committee, and Lisa Mazzocco for breach of fiduciary duties under
26
     ERISA.1
27
28        1
              The Employee Retirement Income Security Act, 29 U.S.C. §§1001–1461.

                                           COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 2 of 70 Page ID #:2



1          2.       The duties of loyalty and prudence are “the highest known to the law”
2    and require fiduciaries to have “an eye single to the interests of the participants and
3    beneficiaries.” Donovan v. Bierwirth, 680 F.2d 263, 271, 272 n.8 (2d Cir. 1982). As
4    fiduciaries to the Plans, Defendants are obligated to act for the exclusive benefit of
5    participants and beneficiaries, and to ensure that Plan expenses are reasonable and
6    that the Plans’ investments are prudent.
7          3.       The marketplace for retirement plan services is established and
8    competitive. Billion-dollar-defined contribution plans, like the Plans, have
9    tremendous bargaining power to demand low-cost administrative and investment
10   management services. Instead of leveraging the Plans’ bargaining power to benefit
11   participants and beneficiaries, Defendants allowed unreasonable expenses to be
12   charged to participants for administration of the Plans, and retained high-cost and
13   poor-performing investments compared to available alternatives.
14         4.       To remedy these fiduciary breaches, Plaintiffs, individually and as
15   representatives of a class of participants and beneficiaries of the Plans, bring this
16   action on behalf of the Plans under 29 U.S.C. §1132(a)(2) and (3) to enforce
17   Defendants’ personal liability under 29 U.S.C. §1109(a) to make good to the Plans
18   all losses resulting from each breach of fiduciary duty and to restore to the Plans
19   any profits made through Defendants’ use of Plan assets. In addition, Plaintiffs seek
20   such other equitable or remedial relief for the Plans as the Court may deem
21   appropriate.
22                              JURISDICTION AND VENUE
23         5.       This Court has exclusive jurisdiction over the subject matter of this
24   action under 29 U.S.C. §1132(e)(1) and 28 U.S.C. §1331 because it is an action
25   under 29 U.S.C. §1132(a)(2) and (3).
26         6.       This District is the proper venue for this action under 29 U.S.C.
27   §1132(e)(2) and 28 U.S.C. §1391(b) because it is the district in which the subject
28
                                            -2-
                                         COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 3 of 70 Page ID #:3



1    Plans are administered, where at least one of the alleged breaches took place, and
2    where at least one defendant resides.
3                                            PARTIES
4                  University of Southern California Retirement Savings Program
5            7.      The University of Southern California (“USC”) offers eligible faculty
6    and staff participation in what it refers to as the University of Southern California
7    Retirement Savings Program (the “Program”). The Program includes two
8    underlying plans: the University of Southern California Defined Contribution
9    Retirement Plan and the University of Southern California Tax-Deferred Annuity
10   Plan.
11           8.      Nearly every employee eligible to participate in the Program has an
12   individual account in both the University of Southern California Defined
13   Contribution Retirement Plan and the University of Southern California Tax-
14   Deferred Annuity Plan.
15           9.      Participants in the University of Southern California Tax-Deferred
16   Annuity Plan contribute to their individual account through payroll deductions,
17   whereas participants in the University of Southern California Defined Contribution
18   Retirement Plan receive contributions from USC.
19      University of Southern California Defined Contribution Retirement Plan
20           10.     The University of Southern California Defined Contribution
21   Retirement Plan (the “DC Plan”) is a defined contribution, individual account,
22   employee pension benefit plan under 29 U.S.C. §1002(2)(A) and §1002(34).
23           11.     The DC Plan is established and maintained under a written document
24   in accordance with 29 U.S.C. §1102(a)(1).
25           12.     The DC Plan provides for retirement income for certain faculty and
26   staff of USC. That retirement income depends upon contributions made on behalf
27   of each employee by his or her employer, matching contributions made on behalf of
28
                                             -3-
                                          COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 4 of 70 Page ID #:4



 1   qualifying employees, and performance of investment options net of fees and
 2   expenses.
 3          13.   As of December 31, 2014, the DC Plan held $2.19 billion in assets and
 4   had 28,423 participants with account balances. It is one of the largest defined
 5   contribution plans in the United States. Plans of such great size are commonly
 6   referred to as “jumbo plans.”
 7            University of Southern California Tax-Deferred Annuity Plan
 8          14.   The University of Southern California Tax-Deferred Annuity Plan (the
 9   “TDA Plan”) is a defined contribution plan, individual account, employee pension
10   benefit plan under 29 U.S.C. §1002(2)(A) and §1002(34).
11          15.   The TDA Plan is established and maintained under a written document
12   in accordance with 29 U.S.C. §1102(a)(1).
13          16.   The TDA Plan provides for retirement income for certain faculty and
14 staff of USC. That retirement income depends upon deferrals of employee
15 compensation and performance of investment options net of fees and expenses.
16          17.   As of December 31, 2014, the TDA Plan held $2.25 billion in assets
17 and had 29,758 participants with account balances. This “jumbo plan” is also one of
18 the largest defined contribution plans in the United States.
19          18.   With total assets well over $1 billion, the DC Plan and the TDA Plan
20 are in the top 1% of all defined contribution plans in the United States based on the
21 total assets that filed a Form 5500 with the Department of Labor.
22          19.   The Plans allow participants to designate investment options into
23   which their individual accounts are invested. Defendants exercised exclusive and
24   discretionary authority and control over the investment options that are included in
25   the Plans.
26   //
27   //
28   //
                                           -4-
                                        COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 5 of 70 Page ID #:5



1                                           Plaintiffs
2          20.    Allen L. Munro resides in Manhattan Beach, California, and is a
3    participant in the Plans under 29 U.S.C. §1002(7) because he and his beneficiaries
4    are eligible to receive benefits under the Plans.
5          21.    Daniel C. Wheeler resides in El Monte, California, and is a participant
6    in the Plans under 29 U.S.C. §1002(7) because he and his beneficiaries are eligible
7    to receive benefits under the Plans.
8          22.    Edward E. Vaynman resides in Santa Monica, California, and is a
9    participant in the Plans under 29 U.S.C. §1002(7) because he and his beneficiaries
10   are eligible to receive benefits under the Plans.
11         23.    Jane A. Singleton resides in Azusa, California, and is a participant in
12   the Plans under 29 U.S.C. §1002(7) because she and her beneficiaries are eligible to
13   receive benefits under the Plans.
14         24.    Sarah Gleason resides in Los Angeles, California, and is a participant
15   in the Plans under 29 U.S.C. §1002(7) because she and her beneficiaries are eligible
16   to receive benefits under the Plans.
17         25.    Rebecca A. Snyder resides in Torrance, California, and is a participant
18   in the Plans under 29 U.S.C. §1002(7) because she and her beneficiaries are eligible
19   to receive benefits under the Plans.
20                                          Defendants
21         26.    USC is a non-profit corporation organized under California law with
22   its principal place of business in Los Angeles, California. Upon information and
23   belief, USC is the fiduciary with ultimate responsibility for the control,
24   management, and administration of the Plans, in accordance with 29 U.S.C.
25   §1102(a). USC is the Plan administrator for both Plans under 29 U.S.C.
26   §1002(16)(A)(i), and has exclusive responsibility and complete discretionary
27   authority to control the operation, management and administration of the Plans,
28   with all powers necessary to enable it to properly to carry out such responsibilities,
                                              -5-
                                       COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 6 of 70 Page ID #:6



1    including the selection and compensation of the providers of administrative services
2    to the Plans and the selection, monitoring, and removal of the investment options
3    made available to participants for the investment of their contributions and
4    provision of their retirement income.
5          27.    USC is a fiduciary to the Plans because it exercised discretionary
6    authority or discretionary control respecting the management of the Plans or
7    exercised authority or control respecting the management or disposition of its
8    assets, and has discretionary authority or discretionary responsibility in the
9    administration of the Plans. 29 U.S.C. §1002(21)(A)(i) and (iii).
10         28.    The USC Retirement Plan Oversight Committee (“Committee”) has
11   been delegated certain fiduciary responsibilities over the administration and
12   investment of the Plans’ assets, including: selecting and monitoring the Plans’
13   investment options; selecting vendors and implementing contractual service
14   arrangements; developing investment objectives, policies, and procedures for the
15   Plans; and monitoring and controlling investment and administrative fees paid from
16   the Plans to ensure those fees are reasonable for the services provided.
17         29.    Lisa Mazzocco is the current chair of the Committee and serves as
18   USC’s Chief Investment Officer. In addition to her role as a fiduciary committee
19   member, she advises the investment and finance committee of the USC Board of
20   Trustees with respect to USC’s endowment performance and directly reports to the
21   President of USC.
22         30.    The Committee, its individual members, and Ms. Mazzocco, are
23   fiduciaries to the Plans because they exercised discretionary authority or
24   discretionary control respecting the management of the Plans or exercised authority
25   or control respecting the management or disposition of their assets, and have
26   discretionary authority or discretionary responsibility in administration of the Plans.
27   29 U.S.C. §1002(21)(A)(i) and (iii).
28   //
                                           -6-
                                        COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 7 of 70 Page ID #:7



1            31.     Because the Committee and its individual committee members,
2    including Ms. Mazzocco, have acted as alleged herein as the agents of USC, all
3    defendants are collectively referred to hereafter as “Defendants”.
4                          FACTS APPLICABLE TO ALL COUNTS
5       I.         The Plans’ investment structure
6            32.     Defendants select investment options into which participants’
7    investments are directed, including those investment options that are removed from
8    the Plans. These investments are designated by USC as available investment
9    alternatives under the Plans.
10           33.     Prior to March 2016, Defendants selected and retained over 340
11   investment options, which included mutual funds, insurance pooled separate
12   accounts, and insurance company fixed and variable annuity products. The mutual
13   fund options included retail share class mutual funds, despite the massive size of
14   the Plans. These retail share class mutual funds are designed for small individual
15   investors and are identical in every respect to the institutional share class funds,
16   except for much higher fees.
17           34.     The Plans’ investments options were offered by four separate
18   recordkeepers to the Plans. These recordkeepers included: Teachers Insurance and
19   Annuity Association of America and College Retirement Equities Fund (“TIAA-
20   CREF”), the Vanguard Group, Inc. (“Vanguard”), Fidelity Investments Institutional
21   Operations Company (“Fidelity”), and Prudential Trust Company and Prudential
22   Insurance Company of America (collectively, “Prudential”). With the exception of
23   approximately fourteen investment options, all investments were proprietary
24   investments of these four recordkeepers.
25           35.     Among the available investments in the Plans as of December 31,
26   2014, 32 were TIAA-CREF options holding $2.4 billion in Plan assets, 87 were
27   Vanguard options holding $685 million in Plan assets, 190 were Fidelity options
28   holding $1.2 billion in Plan assets, and 35 were Prudential options holding $117
                                              -7-
                                         COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 8 of 70 Page ID #:8



1    million in Plan assets.2
2          36.      The TIAA Traditional Annuity offered in the Plans is a fixed annuity
3    contract that returns a contractually specified minimum interest rate. Assets
4    invested in the TIAA Traditional Annuity are held in the general account of
5    Teachers Insurance and Annuity Association of America and are dependent on the
6    claims-paying ability of Teachers Insurance and Annuity Association of America.
7          37.      The TIAA Traditional Annuity has severe restrictions and penalties for
8    withdrawal if participants wish to change their investments in the Plans. For
9    example, some participants who invest in the TIAA Traditional Annuity must pay a
10   2.5% surrender charge if they withdraw their investment in a single lump sum
11   within 120 days of termination of employment. Rather than being available to
12   participants if they wish to liquidate their funds earlier, the only way for
13   participants to withdraw or change their investment in the TIAA Traditional
14   Annuity is to spread the withdrawal over a ten-year period, unless a substantial
15   penalty is paid. Thus, participants who wish to withdraw their investment without
16   penalty can only do so over ten years.
17         38.      The Plans’ CREF Stock Account, CREF Global Equities Account,
18   CREF Equity Index Account, CREF Growth Account, CREF Social Choice
19   Account, CREF Money Market Account, CREF Inflation-Linked Bond Account,
20   and CREF Bond Market Account are variable annuities that invest in underlying
21   securities for a given investment style. The value of the Plans’ investment in these
22   variable annuities changes over time based on investment performance and
23   expenses of the accounts.
24         39.      The expense ratio of the CREF variable annuity accounts is made up
25   of multiple layers of expense charges consisting of the following:
26               a. “administrative expense” charge (24 bps);3
27     2
          The Plans also hold assets in SunAmerica investment products. However,
     effective
        3
               July 2007, new contributions were frozen to these investments.
28        One basis point is equal to 1/100th of one percent (or 0.01%). Expenses stated
                                               -8-
                                         COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 9 of 70 Page ID #:9



1                b. “distribution expense” charge (9.5 bps);
2                c. “mortality and expense risk” charge (0.5 bps); and
3                d. “investment advisory expense” charge (ranging from 4 to 12.5 bps).
4          40.      The TIAA Real Estate Account is an insurance separate account
5    maintained by TIAA-CREF. An insurance separate account is an investment
6    vehicle that aggregates assets from more than one retirement plan for a given
7    investment strategy, but those assets are segregated from the insurance company’s
8    general account assets. Similar to the CREF variable annuity accounts, the expense
9    ratio of the TIAA Real Estate Account is made up of multiple layers of expense
10   charges. As of May 1, 2013, these charges consisted of the following:
11               a. “administrative expense” charge (26.5 bps);
12               b. “distribution expense” charge (8 bps);
13               c. “mortality and expense risk” charge (0.5 bps);
14               d. “liquidity guarantee “(18 bps); and
15               e. “investment management expense” charge (36.5 bps).
16         41.      The remaining TIAA-CREF funds are registered investment
17   companies under the Investment Company Act of 1940, known as mutual funds.
18   The TIAA-CREF mutual funds charge varying amounts for investment
19   management, but also charge distribution, marketing, and other expenses,
20   depending on the type of investment and share class.
21         42.      The Vanguard and Fidelity investment options offered to the Plans’
22   participants are exclusively mutual funds that charge varying amounts for
23   investment management, but also charge for distribution, marketing, and other
24   expenses, depending on the type of investment and share class.
25         43.      The Prudential investment options in the Plans included both variable
26   annuities, pooled separate accounts, and mutual funds.
27   //
28   as of May 1, 2014.
                                            -9-
                                         COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 10 of 70 Page ID #:10



 1               44.      Mutual funds have shareholders who are not participants in the Plans,
 2   or any retirement plan, and who purchase shares as a result of marketing the fund.
 3   However, all shareholders in the mutual funds, including participants in the Plan,
 4   pay the expenses set forth in ¶¶41–42.
 5               45.      In March 2016, Defendants made certain changes to the Plans. They
 6   removed Prudential as one of the Plans’ recordkeepers for future contributions,
 7   eliminated hundreds of mutual funds, removed certain fixed and variable annuity
 8   investment options, and froze contributions to certain other fixed and variable
 9   annuity investment options. The changes made by Defendants in March 2016
10   resulted in participants now being offered a total of approximately 34 investment
11   options across the Plans’ three remaining recordkeepers.4
12               46.      Despite these changes, and as set forth in further detail below,
13   Defendants continue to include high-priced investment options in the Plans, retain
14   three recordkeepers, and continue to allow excessive recordkeeping fees to be
15   charged to the Plans.
16         II.         Defendants’ actions caused Plan participants to pay excessive
17                     administrative and recordkeeping fees in violation of ERISA’s
18                     requirement that fees be reasonable.
19               47.      Recordkeeping is a service necessary for every defined contribution
20   plan. The market for recordkeeping services is highly competitive. There are
21   numerous recordkeepers in the marketplace who are equally capable of providing a
22   high level of service to large defined contribution plans, like the Plans. These
23   recordkeepers primarily differentiate themselves based on price, and vigorously
24   compete for business by offering the best price.
25               48.      To ensure that plan administrative and recordkeeping expenses are and
26   remain reasonable for the services provided, prudent fiduciaries of large defined
27   contribution plans put the plan’s recordkeeping and administrative services out for
28     4
           The Plans’ target date funds are counted as a single investment option.
                                               - 10 -
                                          COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 11 of 70 Page ID #:11



 1   competitive bidding at regular intervals of approximately three years.
 2         49.    The cost of recordkeeping and administrative services depends on the
 3   number of participants, not the amount of assets in the participant’s account. Thus,
 4   the cost of providing recordkeeping services to a participant with an average
 5   account balance of $100,000 is the same as the cost of recordkeeping for a
 6   participant with $1,000 in her retirement account. For this reason, prudent
 7   fiduciaries of defined contribution plans negotiate recordkeeping fees for each plan
 8   participant rather than as a percentage of plan assets. Otherwise, as plan assets
 9   increase through participant contributions or investment gains, the recordkeeping
10   revenue increases without any change in the services provided.
11         50.    Jumbo defined contribution plans, like the Plans, experience
12   economies of scale for recordkeeping and administrative services. As the number of
13   participants in a plan increases, the per-participant fee charged for recordkeeping
14   and administrative services declines. These lower administrative expenses are
15   readily available for plans with a large number of participants.
16         51.    Some investments engage in a practice known as revenue sharing. In a
17   revenue sharing arrangement, a mutual fund or other investment vehicle directs a
18   portion of the expense ratio—the asset-based fees it charges to investors—to the
19   plan’s recordkeeper, putatively for providing recordkeeping and administrative
20   services for the investment. Because revenue sharing arrangements provide asset-
21   based fees, if prudent fiduciaries use revenue sharing (or asset-based charges) to
22   pay for recordkeeping, they must monitor the total amount of compensation
23   received by the recordkeeper to ensure that the recordkeeper is not receiving
24   unreasonable compensation. A prudent fiduciary ensures that the recordkeeper
25   rebates to the plan all revenue it receives that exceeds a reasonable recordkeeping
26   fee. Because revenue sharing payments are asset-based, they often bear no relation
27   to a reasonable recordkeeping fee and can quickly result in excessive compensation
28   to the recordkeeper. Funds that revenue share may use these payments as kickbacks
                                            - 11 -
                                       COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 12 of 70 Page ID #:12



 1   to induce recordkeepers to use higher-cost share classes as plan investment options.
 2         52.    Prudent fiduciaries of similarly sized defined contribution plans use a
 3   single recordkeeper rather than hiring multiple recordkeepers and custodians or
 4   trustees. This leverages plan assets to provide economies of scale and ensures that
 5   plan participants pay only reasonable recordkeeping fees, while also simplifying
 6   personnel and payroll data feeds, reducing electronic fund transfers, and avoiding
 7   duplication of services when more than one recordkeeper is used.
 8         53.    According to a 2013 survey of 403(b) plans, more than 90% of plans
 9   use a single recordkeeper to provide administrative and recordkeeping services to
10   participants. See LIMRA Retirement Research, 403(b) Plan Sponsor Research
11   (2013).5
12         54.    It is well known in the defined contribution industry that plans with
13   dozens of choices and multiple recordkeepers “fail” based on two primary flaws:
14         1. The choices are overwhelming. Numerous studies have
15         demonstrated that when people are given too many choices of
16         anything, they lose confidence or make no decision.
17         2. The multi-recordkeeper platform is inefficient. It does not
18         allow sponsors to leverage total plan assets and receive
19         appropriate pricing based on aggregate assets.
20   The Standard Retirement Services, Inc., Fixing Your 403(b) Plan: Adopting a Best
21   Practices Approach, at 2 (Nov. 2009)(emphasis in original).6
22         55.    The benefits of using a single recordkeeper are clear:
23         By selecting a single recordkeeper, plan sponsors can enhance
24         their purchasing power and negotiate lower, transparent
25         investment fees for participants. Participants will benefit from a
26
       5
          Available at
27   http://www.limra.com/uploadedFiles/limracom/LIMRA_Root/Secure_Retirement_I
     nstitute/News_Center/Reports/130329-01exec.pdf.
        6
28        Available at https://www.standard.com/pensions/publications/14883_1109.pdf.
                                             - 12 -
                                       COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 13 of 70 Page ID #:13



 1         more manageable number of institutional-quality investment
 2         options to choose from. Participants will also benefit from
 3         customized and consistent enrollment, education and ongoing
 4         communication materials.7
 5         56.   In a study titled “How 403(b) Plans Are Wasting Nearly $10 Billion
 6   Annually, and What Can Be Done to Fix It”, AonHewitt, an independent
 7   investment consultant, similarly recognized:
 8         403(b) plan sponsors can dramatically reduce participant-borne
 9         costs while improving employees’ retirement readiness by:
10               – Reducing the number of investment options, utilizing an
11               “open architecture” investment menu, and packaging the
12               options within a “tiered” structure.
13               – Consolidating recordkeepers to improve efficiencies and
14               reduce compliance-related risks.
15               – Leveraging aggregate plan size and scale to negotiate
16               competitive pricing.
17   AonHewitt, How 403(b) Plans are Wasting Nearly $10 Billion Annually, and What
18   Can Be Done to Fix It (Jan. 2016).8
19         57.   Another independent investment consultant, Towers Watson, also
20   recognized that using multiple recordkeepers has caused:
21         high investment and administrative costs, and complex choices
22         for plan participants in terms of the number of vendors and the
23         array of investment options. Additionally, this complexity has
24         made it difficult for employers to monitor available choices and
25
       7
       8
         Fixing Your 403(b) Plan: Adopting a Best Practices Approach, at 2.
26      Available at
     https://retirementandinvestmentblog.aon.com/getattachment/36ff81a4-db35-4bc0-
27   aac1-
     1685d2a64078/How_403(b)_Plans_are_Wasting_Nearly_$10_Billion_Annually_
28   Whitepaper_FINAL.pdf.aspx.
                                           - 13 -
                                      COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 14 of 70 Page ID #:14



 1         provide ongoing oversight . . . . Such designs typically are
 2         expensive and fail to leverage plan size. They can also be
 3         confusing to the average plan participant, who is likely to fall
 4         short of achieving retirement readiness and would benefit from
 5         more guidance.
 6   Peter Grant and Gary Kilpatrick, Higher Education’s Response to a New Defined
 7   Contribution Environment, TOWERS WATSON VIEWPOINTS, at 2 (2012).9
 8         58.    Others in the industry make the same points. See, e.g., Kristen
 9   Heinzinger, Paring Down Providers: A 403(b) Sponsor’s Experience,
10   PLANSPONSOR (Dec. 6, 2012)(“One advantage of consolidating to a single provider
11   was an overall drop in administrative fees and expenses. Recordkeeping basis
12   points returned to the plan sponsors rather than to the vendor. All plan money
13   aggregated into a single platform, and participants were able to save on fee
14   structure. This also eliminated the complications and confusion of having three
15   different recordkeepers.”);10 Paul B. Lasiter, Single Provider, Multiple Choices,
16   BUSINESS OFFICER (Mar. 2010)(identifying, among other things, the key
17   disadvantages of maintaining a multi-provider platform including the fact that it is
18   “cumbersome and costly to continue overseeing multiple vendors.”).11
19         59.    Use of a single recordkeeper is also less confusing to participants and
20   results in their avoiding paying excessive recordkeeping fees. Vendor
21   Consolidation in Higher Education: Getting More from Less, PLANSPONSOR (July
22   29, 2010)(recognizing the following benefits, among others: “The plan participant
23   experience is better” because “employees are benefiting from less confusion as a
24     9
          Available at
     https://www.towerswatson.com/DownloadMedia.aspx?media=%7B08A2F366-
25   14E3-4C52-BB78-8930F598FD26%7D.
        10
           Available at http://www.plansponsor.com/paring-down-providers-a-403b-
26   sponsors-experience/?fullstory=true.
       11
27        Available at
     http://www.nacubo.org/Business_Officer_Magazine/Magazine_Archives/March_20
28   10/Single_Provider_Multiple_Choices.html.
                                            - 14 -
                                       COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 15 of 70 Page ID #:15



 1   result of fewer vendors in the mix”; “Administrative burden is lessened” by
 2   “bringing new efficiencies to the payroll”; and “Costs can be reduced” because
 3   “[w]ith a reduced number of vendors in the equation, plan sponsors are better able
 4   to negotiate fees” and many are “reporting lower overall cost resulting in an
 5   improved cost-per-participant ratio”).12
 6          60.   Despite the long-recognized benefits of a single recordkeeper for a
 7   defined contribution plan, Defendants continue to contract with three recordkeepers
 8   (TIAA-CREF, Fidelity, and Vanguard). Prior to March 2016, Defendants also
 9   contracted with Prudential, for a total of four recordkeepers for the Plans. The
10   inefficient and costly structure maintained by Defendants has caused Plan
11   participants to pay and continue to pay duplicative, excessive, and unreasonable
12   fees for recordkeeping and administrative services. There is no loyal or prudent
13   reason for Defendants’ failure to engage in a process to reduce duplicative services
14   and the fees charged to the Plans long before March 2016, and before 2009, or to
15   continue with three recordkeepers to date.
16          61.   The Plans’ four recordkeepers prior to March 2016 received
17   compensation for providing such services through per-participant fees and revenue
18   sharing payments from the Plans’ investments.
19          62.   Upon information and belief and industry experts, the amounts of
20   revenue sharing kicked back to the TIAA-CREF recordkeeping entity for the Plans’
21   TIAA-CREF investments are:
22
                        TIAA-CREF Investment                       Revenue Share
23
             CREF variable annuity contracts                           24 bps
24           Premier share class of TIAA-CREF mutual funds             15 bps
25           Retirement class of TIAA-CREF mutual funds                25 bps
             TIAA Real Estate Account                               24–26.5 bps
26           TIAA Traditional Annuity                                  15 bps
27
       12
         Available at http://www.plansponsor.com/vendor-consolidation-in-higher-
28   education/?fullstory=true.
                                          - 15 -
                                     COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 16 of 70 Page ID #:16



 1         63.    Fidelity and Vanguard are compensated for recordkeeping services
 2   based on internal revenue sharing they receive from their proprietary Fidelity or
 3   Vanguard mutual funds and/or direct payments from the Plans. Similarly,
 4   Prudential was and is compensated based on revenue sharing payments from its
 5   proprietary investment options that remain in the Plans.
 6         64.    In addition, the Plans’ recordkeepers receive additional indirect
 7   compensation, including revenue sharing for non-proprietary funds, float,
 8   securities-lending revenue, distribution fees, mortality and expense charges,
 9   surrender charges, spread, and redemption fees.
10         65.    Based on information currently available to Plaintiffs regarding the
11   Plans’ features, the nature of the administrative services provided by the Plans’
12   recordkeepers, the Plans’ participant level (roughly 58,000 combined participant
13   accounts), and the recordkeeping market, a reasonable recordkeeping fee for the
14   Plans would have been a fixed amount of approximately $1,740,000 (or
15   approximately $30 per participant with an account balance).
16         66.    Based on the direct and indirect compensation levels shown on the
17   Plans’ Form 5500s filed with the Department of Labor, and according to the
18   internal revenue share allocated to each of the Plans’ recordkeepers from their
19   proprietary investment options, each Plan paid up to $130 per participant per year
20   from 2010 to 2014, which is well over 300% higher than a reasonable fee for these
21   services, resulting in millions of dollars in excessive recordkeeping fees each year.
22         67.    This is a very conservative total because this amount excludes asset-
23   based revenue sharing payments Prudential received for recordkeeping and
24   administrative services from their proprietary variable annuities and mutual fund
25   products. This information was not disclosed to Plan participants.
26         68.    The impact of excessive fees on employees’ and retirees’ retirement
27   assets is dramatic. The U.S. Department of Labor has noted that a 1% higher level
28   of fees over a 35-year period makes a 28% difference in retirement assets at the end
                                            - 16 -
                                      COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 17 of 70 Page ID #:17



 1   of a participant’s career. U.S. Dep’t of Labor, A Look at 401(k) Plan Fees, at 1–2
 2   (Aug. 2013).13
 3          69.   Defendants also failed to control recordkeeping costs as Plan assets
 4   grew. From December 31, 2009 to December 31, 2014, the Plans’ assets increased
 5   from $2.7 billion to over $4.6 billion, an increase of 70%. Because revenue sharing
 6   payments are asset-based, the already excessive compensation paid to the Plans’
 7   recordkeepers became even more excessive as the Plans’ assets grew, even though
 8   the administrative services provided to the Plans remained the same. Defendants
 9   could have capped the amount of revenue sharing to ensure that all excessive
10   amounts above a reasonable recordkeeping fee were returned to the Plans as other,
11   loyally and prudently administered plans do, but failed to do so.
12          70.   Upon information and belief, Defendants also failed to conduct a
13   competitive bidding process for the Plans’ recordkeeping services. A competitive
14   bidding process for the Plans’ recordkeeping services would have produced a
15   reasonable recordkeeping fee for the Plans. This competitive bidding process would
16   have enabled Defendants to select a recordkeeper charging reasonable fees, obtain a
17   substantial reduction in recordkeeping fees, and rebate any excess expenses paid by
18   participants for recordkeeping services.
19          71.   Defendants failed to prudently monitor and control the compensation
20   paid by the Plans for recordkeeping and administrative services, particularly the
21   asset-based revenue sharing received by the Plans’ recordkeepers. Had Defendants
22   monitored the compensation paid to the Plans’ recordkeepers and ensured that
23   participants were only charged reasonable fees for administrative and
24   recordkeeping services, Plan participants would not have lost in excess of $22
25   million of their retirement savings in the last six years alone.14
26     13
       14
         Available at http://www.dol.gov/ebsa/pdf/401kfeesemployee.pdf.
         Plan losses have been brought forward to the present value using the
27   investment returns of the S&P 500 index to compensate participants who have not
     been reimbursed for their losses. This is because the excessive fees participants paid
28   would have remained in Plan investments growing with the market.
                                             - 17 -
                                        COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 18 of 70 Page ID #:18



 1      III.       Defendants failed to prudently consider or offer dramatically lower-
 2                 cost investments that were available to the Plans, including identical
 3                 mutual funds in lower-cost share classes.
 4           72.      Nobel Prize winners in economics have concluded that virtually no
 5   investment manager consistently beats the market over time after fees are taken into
 6   account. “Properly measured, the average actively managed dollar must
 7   underperform the average passively managed dollar, net of costs.” William F.
 8   Sharpe, The Arithmetic of Active Management, 47 FIN. ANALYSTS J. 7, 8 (Jan./Feb.
 9   1991);15 Eugene F. Fama & Kenneth R. French, Luck Versus Skill in the Cross-
10   Section of Mutual Fund Returns, 65 J. FIN. 1915, 1915 (2010)(“After costs . . . in
11   terms of net returns to investors, active investment must be a negative sum game.”).
12           73.      To the extent fund managers show any sustainable ability to beat the
13   market, the outperformance is nearly always dwarfed by mutual fund expenses.
14   Fama & French, Luck Versus Skill in the Cross-Section of Mutual Fund Returns, at
15   1931–34; see also Russ Wermers, Mutual Fund Performance: An Empirical
16   Decomposition into Stock-Picking Talent, Style, Transaction Costs, and Expenses,
17   55 J. FIN. 1655, 1690 (2000)(“on a net-return level, the funds underperform broad
18   market indexes by one percent per year”).
19           74.      If an individual high-cost mutual fund exhibits market-beating
20   performance over a short period of time, studies demonstrate that outperformance
21   during a particular period is not predictive of whether a mutual fund will perform
22   well in the future. Laurent Barras et al., False Discoveries in Mutual Fund
23   Performance: Measuring Luck in Estimated Alphas, 65 J. FIN. 179, 181 (2010);
24   Mark M. Carhart, On Persistence in Mutual Fund Performance, 52 J. FIN. 57, 57,
25   59 (1997)(measuring thirty-one years of mutual fund returns and concluding that
26   “persistent differences in mutual fund expenses and transaction costs explain almost
27   all of the predictability in mutual fund returns”). However, the worst-performing
28     15
            Available at http://www.cfapubs.org/doi/pdf/10.2469/faj.v47.n1.7.
                                             - 18 -
                                        COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 19 of 70 Page ID #:19



 1   mutual funds show a strong, persistent tendency to continue their poor performance.
 2   Carhart, On Persistence in Mutual Fund Performance, at 57.
 3          75.   Accordingly, investment costs are of paramount importance to prudent
 4   investment selection, and a prudent investor will not select higher-cost actively
 5   managed funds unless there has been a documented process leading to the realistic
 6   conclusion that the fund is likely to be that extremely rare exception, if one even
 7   exists, that will outperform its benchmark over time, net of investment expenses.
 8          76.   Moreover, jumbo retirement plans have enormous bargaining power to
 9   obtain low fees for investment management services:
10          The fiduciaries also must consider the size and purchasing power of their
11          plan and select the share classes (or alternative investments) that a fiduciary
12          who is knowledgeable about such matters would select under the
13          circumstances. In other words, the “prevailing circumstances”—such as the
14          size of the plan—are a part of a prudent decisionmaking process. The failure
15          to understand the concepts and to know about the alternatives could be a
16          costly fiduciary breach.
17   Fred Reish, Class-ifying Mutual Funds, PLANSPONSOR (Jan. 2011).16
18          77.   Apart from the fact that a prudent fiduciary will carefully weigh
19   whether an actively managed fund is likely to outperform an index over time, net of
20   fees, academic and financial industry literature demonstrate that high expenses are
21   not correlated with superior investment management. Indeed, funds with high fees
22   on average perform worse than less expensive funds even on a pre-fee basis. Javier
23   Gil-Bazo & Pablo Ruiz-Verdu, When Cheaper is Better: Fee Determination in the
24   Market for Equity Mutual Funds, 67 J. ECON. BEHAV. & ORG. 871, 873 (2008); see
25   also Jill E. Fisch, Rethinking the Regulation of Securities Intermediaries, 158 U.
26   PA. L. REV. 1961, 1993 (2010)(summarizing numerous studies showing that “the
27     16
         Available at
28   http://www.plansponsor.com/MagazineArticle.aspx?id=6442476537.
                                        - 19 -
                                   COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 20 of 70 Page ID #:20



 1   most consistent predictor of a fund’s return to investors is the fund’s expense
 2   ratio”).
 3          [T]he empirical evidence implies that superior management is not priced
 4          through higher expense ratios. On the contrary, it appears that the effect of
 5          expenses on after-expense performance (even after controlling for funds’
 6          observable characteristics) is more than one-to-one, which would imply that
 7          low-quality funds charge higher fees. Price and quality thus seem to be
 8          inversely related in the market for actively managed mutual funds.
 9   Gil-Bazo & Ruiz-Verdu, When Cheaper is Better, at 883.
10          78.   Lower-cost institutional share classes of mutual funds, compared to
11   retail shares, are available to institutional investors, and far lower-cost share classes
12   are available to jumbo investors like the Plans. In addition, insurance company
13   pooled separate accounts are available that can significantly reduce investment fees.
14          79.   Minimum investment thresholds for institutional share classes are
15   routinely waived by the investment provider if not reached by a single fund based
16   on the retirement plan’s total investment in the provider’s platform. Therefore, it is
17   commonly understood by investment managers of large pools of assets that for a
18   retirement plan of the Plans’ size, if requested, the investment provider would make
19   available lower-cost share classes for the Plans, if there were any fund that did not
20   individually reach the threshold.
21          80.   Despite these far lower-cost options, Defendants selected and continue
22   to provide Plan investment options with far higher costs than were and are available
23   for the Plans based on their size. Moreover, for the exact same mutual fund option,
24   the Defendants selected and continue to offer much higher-cost share classes of
25   identical mutual funds than were available to the Plans. The following table lists the
26   significantly lower-cost share classes that were available to the Plans since 2010 but
27   were not used:
28   //
                                            - 20 -
                                         COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 21 of 70 Page ID #:21



 1
                                                         Identical
 2   Plan Mutual Fund        Plan      Identical Lower- Lower-Cost       Plans’
                             Fee      Cost Mutual Fund    Mutual       Excess Cost
 3                                                       Fund Fee
 4
     Fidelity Balanced      61 bps    Fidelity Balanced      47 bps      29.79%
 5   (FBALX)                          K (FBAKX)
 6
 7   Fidelity Blue Chip     93 bps    Fidelity Blue Chip     74 bps      25.68%
     Growth (FBGRX)                   Growth K
 8                                    (FBGKX)
 9   Fidelity Capital       86 bps    Fidelity Capital       68 bps      26.47%
     Appreciation                     Appreciation K
10   (FDCAX)                          (FCAKX)

11   Fidelity China         101 bps   Fidelity China         98 bps      3.06%
     Region (FHKCX)                   Region I (FHKIX)
12
13
14   Fidelity               40 bps    Fidelity               30 bps      33.33%
     Conservative                     Conservative
15   Income Bond                      Income Bond Instl
     (FCONX)                          (FCNVX)
16
17   Fidelity               91 bps    Fidelity               78 bps      16.67%
     Contrafund                       Contrafund K
18   (FCNTX)                          (FCNKX)
     Fidelity               68 bps    Fidelity               51 bps      33.33%
19   Disciplined Equity               Disciplined Equity
     (FDEQX)                          K (FDEKX)
20   Fidelity Diversified   96 bps    Fidelity Diversified   77 bps      24.68%
     International                    International K
21   (FDIVX)                          (FDIKX)
22   Fidelity Dividend      92 bps    Fidelity Dividend      71 bps      29.58%
23   Growth (FDGFX)                   Growth K
                                      (FDGKX)
24   Fidelity Emerging      137 bps   Fidelity Emerging      126 bps     8.73%
     Europe, Middle                   Europe, Middle
25   East, Africa                     East, Africa
     (EMEA) (FEMEX)                   (EMEA) I
26                                    (FIEMX)
     Fidelity Emerging      109 bps   Fidelity Emerging      84 bps      29.76%
27   Markets (FEMKX)                  Markets K
                                      (FKEMX)
28
                                          - 21 -
                                       COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 22 of 70 Page ID #:22



 1
                                                      Identical
 2   Plan Mutual Fund      Plan     Identical Lower- Lower-Cost         Plans’
                           Fee     Cost Mutual Fund    Mutual         Excess Cost
 3                                                    Fund Fee
 4
     Fidelity Equity      69 bps   Fidelity Equity        54 bps        27.78%
 5   Income II                     Income II K
     (FEQTX)                       (FETKX)
 6   Fidelity Equity-     74 bps   Fidelity Equity-       54 bps        37.04%
 7   Income (FEQIX)                Income K (FEIKX)
     Fidelity Export &    84 bps   Fidelity Export &      64 bps        31.25%
 8   Multinational                 Multinational K
     (FEXPX)                       (FEXKX)
 9
10   Fidelity Freedom     51 bps   Fidelity Freedom       43 bps        18.60%
     2000 (FFFBX)                  2000 K (FFKBX)
11   Fidelity Freedom     64 bps   Fidelity Freedom       52 bps        23.08%
     2005 (FFFVX)                  2005 K (FFKVX)
12
     Fidelity Freedom     67 bps   Fidelity Freedom       53 bps        26.42%
13   2010 (FFFCX)                  2010 K (FFKCX)
14   Fidelity Freedom     68 bps   Fidelity Freedom       54 bps        25.93%
     2015 (FFVFX)                  2015 K (FKVFX)
15
     Fidelity Freedom     74 bps   Fidelity Freedom       57 bps        29.82%
16   2020 (FFFDX)                  2020 K (FFKDX)
17   Fidelity Freedom     76 bps   Fidelity Freedom       59 bps        28.81%
     2025 (FFTWX)                  2025 K (FKTWX)
18   Fidelity Freedom     79 bps   Fidelity Freedom       61 bps        29.51%
19   2030 (FFFEX)                  2030 K (FFKEX)

20
     Fidelity Freedom     81 bps   Fidelity Freedom       61 bps        32.79%
21   2035 (FFTHX)                  2035 K (FKTHX)

22   Fidelity Freedom     81 bps   Fidelity Freedom       62 bps        30.65%
     2040 (FFFFX)                  2040 K (FFKFX)
23   Fidelity Freedom     82 bps   Fidelity Freedom       62 bps        32.26%
     2045 (FFFGX)                  2045 K (FFKGX)
24
     Fidelity Freedom     84 bps   Fidelity Freedom       63 bps        33.33%
25   2050 (FFFHX)                  2050 K (FFKHX)
26   Fidelity Freedom     50 bps   Fidelity Freedom       42 bps        19.05%
     Income (FFFAX)                Income K
27                                 (FFKAX)
28
                                       - 22 -
                                    COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 23 of 70 Page ID #:23



 1
                                                        Identical
 2   Plan Mutual Fund       Plan      Identical Lower- Lower-Cost       Plans’
                            Fee      Cost Mutual Fund    Mutual       Excess Cost
 3                                                      Fund Fee
 4
     Fidelity Fund         60 bps    Fidelity Fund K       43 bps       39.53%
 5   (FFIDX)                         (FFDKX)
 6   Fidelity Global       111 bps   Fidelity Global       106 bps       4.72%
     Commodity Stock                 Commodity Stock I
 7   (FFGCX)                         (FFGIX)
 8   Fidelity Growth &     74 bps    Fidelity Growth &     53 bps       39.62%
     Income (FGRIX)                  Income K
 9                                   (FGIKX)
10   Fidelity Growth       89 bps    Fidelity Growth       72 bps       23.61%
     Company                         Company K
11   (FDGRX)                         (FGCKX)
     Fidelity Growth       75 bps    Fidelity Growth       52 bps       44.23%
12   Discovery                       Discovery K
     (FDSVX)                         (FGDKX)
13   Fidelity Growth       77 bps    Fidelity Growth       51 bps       50.98%
     Strategies                      Strategies K
14   (FDEGX)                         (FAGKX)
15   Fidelity              92 bps    Fidelity              77 bps       19.48%
     Independence                    Independence K
16   (FDFFX)                         (FDFKX)
17   Fidelity              100 bps   Fidelity              79 bps       26.58%
     International                   International
18   Discovery                       Discovery K
     (FIGRX)                         (FIDKX)
19
     Fidelity              104 bps   Fidelity              88 bps       18.18%
20   International                   International
     Growth (FIGFX)                  Growth Z (FZAJX)
21
     Fidelity              113 bps   Fidelity              112 bps       0.89%
22   International Real              International Real
     Estate (FIREX)                  Estate I (FIRIX)
23
     Fidelity              120 bps   Fidelity              108 bps      11.11%
24   International Small             International Small
     Cap (FISMX)                     Cap I (FIXIX)
25
     Fidelity Japan        90 bps    Fidelity Japan I      89 bps        1.12%
26   (FJPNX)                         (FJPIX)
27   Fidelity Large Cap    90 bps    Fidelity Large Cap    82 bps        9.76%
     Growth (FSLGX)                  Growth I (FLNOX)
28
                                         - 23 -
                                      COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 24 of 70 Page ID #:24



 1
                                                         Identical
 2   Plan Mutual Fund        Plan      Identical Lower- Lower-Cost       Plans’
                             Fee      Cost Mutual Fund    Mutual       Excess Cost
 3                                                       Fund Fee
 4
     Fidelity Latin         107 bps   Fidelity Latin         104 bps     2.88%
 5   America (FLATX)                  America I (FLFIX)
 6   Fidelity Leveraged     88 bps    Fidelity Leveraged     69 bps      27.54%
     Company Stock                    Company Stock K
 7   (FLVCX)                          (FLCKX)
 8   Fidelity Low-          99 bps    Fidelity Low-          85 bps      16.47%
     Priced Stock                     Priced Stock K
 9   (FLPSX)                          (FLPKX)
10   Fidelity Magellan      74 bps    Fidelity Magellan      58 bps      27.59%
     (FMAGX)                          K (FMGKX)
11   Fidelity Mega Cap      68 bps    Fidelity Mega Cap      54 bps      25.93%
     Stock (FGRTX)                    Stock Z (FZALX)
12
     Fidelity Mid Cap       79 bps    Fidelity Mid Cap       67 bps      17.91%
13   Growth (FSMGX)                   Growth I
                                      (FGCOX)
14   Fidelity Mid-Cap       64 bps    Fidelity Mid-Cap       41 bps      56.10%
15   Stock (FMCSX)                    Stock K (FKMCX)
     Fidelity OTC           104 bps   Fidelity OTC K         88 bps      18.18%
16   (FOCPX)                          (FOCKX)
17   Fidelity Overseas      85 bps    Fidelity Overseas      66 bps      28.79%
     (FOSFX)                          K (FOSKX)
18
     Fidelity Puritan       61 bps    Fidelity Puritan K     47 bps      29.79%
19   (FPURX)                          (FPUKX)
20   Fidelity Real Estate   83 bps    Fidelity Real Estate   79 bps      5.06%
     Income (FRIFX)                   Income I (FRIRX)
21
     Fidelity Select        91 bps    Fidelity Select        84 bps      8.33%
22   Gold (FSAGX)                     Gold I (FGDIX)
23   Fidelity Select        82 bps    Fidelity Select        81 bps      1.23%
     Materials (FSDPX)                Materials I
24                                    (FMFEX)
     Fidelity Small Cap     85 bps    Fidelity Small Cap     85 bps      0.00%
25   Independence                     Independence I
     (FDSCX )                         (FCDIX)
26
     Fidelity Spartan        4 bps    Fidelity Spartan        2 bps     100.00%
27   500 Index Instl                  500 Index Instl
     (FXSIX)                          Prem (FXAIX)
28
                                          - 24 -
                                       COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 25 of 70 Page ID #:25



 1
                                                       Identical
 2   Plan Mutual Fund      Plan      Identical Lower- Lower-Cost        Plans’
                           Fee      Cost Mutual Fund    Mutual        Excess Cost
 3                                                     Fund Fee
 4
     Fidelity Spartan      20 bps   Fidelity Spartan      10 bps       100.00%
 5   Emerging Markets               Emerging Markets
     Index Adv                      Index Instl Prem
 6   (FPMAX)                        (FPADX)
 7   Fidelity Spartan      7 bps    Fidelity Spartan       6 bps        16.67%
 8   Extended Market                Extended Market
     Index Adv                      Index Instl Prem
 9   (FSEVX)                        (FSMAX)

10   Fidelity Spartan      18 bps   Fidelity Spartan      10 bps        80.00%
     Global ex-US                   Global ex-US
11   Index Adv                      Index Instl Prem
     (FSGDX)                        (FSGGX)
12   Fidelity Spartan      10 bps   Fidelity Spartan       5 bps       100.00%
     Inflation-Protected            Inflation-Protected
13   Index Adv                      Index Instl Prem
     (FSIYX)                        (FIPDX)
14
15   Fidelity Spartan      7 bps    Fidelity Spartan       6 bps        16.67%
     International Index            International Index
16   Adv (FSIVX)                    Instl Prem
                                    (FSPSX)
17   Fidelity Spartan      7 bps    Fidelity Spartan       6 bps        16.67%
     International Index            International Index
18   Instl (FSPNX)                  Instl Prem
                                    (FSPSX)
19   Fidelity Spartan      8 bps    Fidelity Spartan       4 bps       100.00%
     Mid Cap Index                  Mid Cap Index
20   Adv (FSCKX)                    Instl Prem
                                    (FSMDX)
21   Fidelity Spartan      9 bps    Fidelity Spartan       7 bps        28.57%
22   Real Estate Index              Real Estate Index
     Adv (FSRVX)                    Instl (FSRNX)
23
     Fidelity Spartan      9 bps    Fidelity Spartan       5 bps        80.00%
24   Small Cap Index                Small Cap Index
     Adv (FSSVX)                    Instl Prem
25                                  (FSSNX)
     Fidelity Spartan      7 bps    Fidelity Spartan       5 bps        40.00%
26   Total Market Index             Total Market Index
     Adv (FSTVX)                    Instl Prem
27                                  (FSKAX)
28
                                        - 25 -
                                     COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 26 of 70 Page ID #:26



 1
                                                       Identical
 2   Plan Mutual Fund      Plan      Identical Lower- Lower-Cost        Plans’
                           Fee      Cost Mutual Fund    Mutual        Excess Cost
 3                                                     Fund Fee
 4
     Fidelity Spartan      7 bps    Fidelity Spartan       5 bps        40.00%
 5   US Bond Index                  US Bond Index
     Instl (FXSTX)                  Instl Prem
 6                                  (FXNAX)
 7   Fidelity Stock       86 bps    Fidelity Stock        66 bps        30.30%
     Selector (FDSSX)               Selector K
 8                                  (FSSKX)
     Fidelity Stock       72 bps    Fidelity Stock        70 bps         2.86%
 9   Selector Small Cap             Selector Small Cap
     (FDSCX)                        I (FCDIX)
10
     Fidelity Value       63 bps    Fidelity Value K      46 bps        36.96%
11   (FDVLX)                        (FVLKX)
12   Fidelity Value       95 bps    Fidelity Value        74 bps        28.38%
     Discovery                      Discovery K
13   (FVDFX)                        (FVDKX)
     Fidelity Value       80 bps    Fidelity Value        56 bps        42.86%
14   Strategies (FSLSX)             Strategies K
                                    (FVSKX)
15   Prudential           114 bps   Prudential            49 bps       132.65%
16   Amer:Europacific               Amer:Europacific
     Growth R3                      Growth R6
17   (RERCX)                        (RERGX)
     Prudential           94 bps    Prudential            29 bps       224.14%
18   American Funds                 American Funds
     American Balanced              American Balanced
19   R3 (RLBCX)                     R6 (RLBGX)
20   Prudential           136 bps   Prudential            97 bps        40.21%
     Columbia                       Columbia
21   Seligman                       Seligman
     Communication &                Communication &
22   Income A                       Income I (CSFIX)
     (SLMCX)
23   Prudential DWS       122 bps   Prudential DWS        82 bps        48.78%
24   Small Cap Value A              Small Cap Value
     (KDSAX)                        Instl (KDSIX)
25
     Prudential Global    96 bps    Prudential Global     83 bps        15.66%
26   Real Estate Z                  Real Estate Q
     (PURZX)                        (PGRQX)
27
28
                                        - 26 -
                                     COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 27 of 70 Page ID #:27



 1
                                                        Identical
 2   Plan Mutual Fund       Plan      Identical Lower- Lower-Cost       Plans’
                            Fee      Cost Mutual Fund    Mutual       Excess Cost
 3                                                      Fund Fee
 4
     Prudential Global     98 bps    Prudential Global     87 bps       12.64%
 5   Total Return Z                  Total Return Q
     (PZTRX)                         (PGTQX)
 6
     Prudential            114 bps   Prudential            74 bps       54.05%
 7   Goldman Sachs                   Goldman Sachs
     Mid Cap Value A                 Mid Cap Value
 8   (GCMAX)                         Instl (GSMCX)
 9   Prudential            98 bps    Prudential            30 bps      226.67%
     American Funds                  American Funds
10   Growth Fund of                  Growth Fund of
     America R3                      America R6
11   (RGACX)                         (RGAGX)
     Prudential            121 bps   Prudential            73 bps       65.75%
12   INVESCO Small                   INVESCO Small
     Cap Growth A                    Cap Growth R6
13   (GTSAX)                         (GTSFX)
     Prudential Jennison   77 bps    Prudential Jennison   58 bps       32.76%
14   Mid Cap Growth Z                Mid Cap Growth Q
     (PEGZX)                         (PJGQX)
15
     Prudential Jennison   87 bps    Prudential Jennison   74 bps       17.57%
16   Nat Resources Z                 Nat Resources Q
     (PNRZX)                         (PJNQX)
17
18   Prudential Jennison   79 bps    Prudential Jennison   63 bps       25.40%
     Value Z (PEIZX)                 Value Q (PJVQX)
19   Prudential Legg       124 bps   Prudential Legg       78 bps       58.97%
     Mason                           Mason
20   ClearBridge Small               ClearBridge Small
     Cap Growth A                    Cap Growth IS
21   (SASMX)                         (LMOIX)
22   Prudential MFS        92 bps    Prudential MFS        53 bps       73.58%
     Value A (MEIAX)                 Value R5
23                                   (MEIKX)
     Prudential            130 bps   Prudential            85 bps       52.94%
24   Oppenheimer                     Oppenheimer
     Developing                      Developing
25   Markets A                       Markets I
     (ODMAX)                         (ODVIX)
26
27
28
                                         - 27 -
                                      COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 28 of 70 Page ID #:28



 1
                                                       Identical
 2   Plan Mutual Fund      Plan      Identical Lower- Lower-Cost        Plans’
                           Fee      Cost Mutual Fund    Mutual        Excess Cost
 3                                                     Fund Fee
 4
     Prudential           127 bps   Prudential            87 bps        45.98%
 5   Oppenheimer                    Oppenheimer
     Global Allocation              Global Allocation I
 6   A (QVGIX)                      (QGRIX)
 7   Prudential PIMCO     85 bps    Prudential PIMCO      46 bps        84.78%
 8   Total Return A                 Total Return Instl
     (PTTAX)                        (PTTRX)
 9
     Prudential Stock     25 bps    Prudential Stock      19 bps        31.58%
10   Index Z (PSIFX)                Index I (PDSIX)

11   Vanguard 500         17 bps    Vanguard 500           2 bps       750.00%
     Index Inv (VFINX)              Index Instl Plus
12                                  (VIIIX)
     Vanguard Asset       29 bps    Vanguard Asset        21 bps        38.10%
13   Allocation Inv                 Allocation Adm
     (VAAPX)                        (VAARX)
14
     Vanguard Balanced    23 bps    Vanguard Balanced      8 bps       187.50%
15   Index Inv                      Index Instl
     (VBINX)                        (VBAIX)
16   Vanguard Capital     47 bps    Vanguard Capital      40 bps        17.50%
     Opportunity Inv                Opportunity Adm
17   (VHCOX)                        (VHCAX)
18   Vanguard             20 bps    Vanguard               7 bps       185.71%
     Developed Markets              Developed Markets
19   Index Inv                      Index Instl
     (VDVIX)                        (VTMNX)
20
     Vanguard             20 bps    Vanguard               6 bps       233.33%
21   Developed Markets              Developed Markets
     Index Inv                      Index Instl Plus
22   (VDMIX)                        (VDMPX)

23   Vanguard             20 bps    Vanguard              10 bps       100.00%
     Dividend                       Dividend
24   Appreciation Index             Appreciation Index
     Inv (VDAIX)                    Adm (VDADX)
25   Vanguard             33 bps    Vanguard              10 bps       230.00%
     Emerging Markets               Emerging Markets
26   Stock Index Inv                Stock Index Instl
     (VEIEX)                        Plus (VEMRX)
27
28
                                        - 28 -
                                     COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 29 of 70 Page ID #:29



 1
                                                      Identical
 2   Plan Mutual Fund      Plan     Identical Lower- Lower-Cost         Plans’
                           Fee     Cost Mutual Fund    Mutual         Excess Cost
 3                                                    Fund Fee
 4
     Vanguard Energy      38 bps   Vanguard Energy        32 bps        18.75%
 5   Inv (VGENX)                   Adm (VGELX)
 6   Vanguard Equity-     29 bps   Vanguard Equity-       20 bps        45.00%
     Income Inv                    Income Adm
 7   (VEIPX)                       (VEIRX)
 8   Vanguard             26 bps   Vanguard                9 bps       188.89%
     European Stock                European Stock
 9   Index Inv                     Index Instl
     (VEURX)                       (VESIX)
10   Vanguard Explorer    51 bps   Vanguard Explorer      35 bps        45.71%
11   Inv (VEXPX)                   Adm (VEXRX)
     Vanguard             23 bps   Vanguard                6 bps       283.33%
12   Extended Market               Extended Market
     Index Inv                     Index Instl
13   (VEXMX)                       (VIEIX)
14   Vanguard FTSE        29 bps   Vanguard FTSE          10 bps       190.00%
     All-World ex-US               All-World ex-US
15   Index Inv                     Index Instl Plus
     (VFWIX)                       (VFWPX)
16   Vanguard FTSE        37 bps   Vanguard FTSE          18 bps       105.56%
     All-World ex-US               All-World ex-US
17   Small-Cap Index               Small-Cap Index
     Inv (VFSVX)                   Instl (VFSNX)
18
     Vanguard FTSE        27 bps   Vanguard FTSE          16 bps        68.75%
19   Social Index Inv              Social Index Instl
     (VFTSX)                       (VFTNX)
20
     Vanguard GNMA        21 bps   Vanguard GNMA          11 bps        90.91%
21   Inv (VFIIX)                   Adm (VFIJX)
22   Vanguard Growth      37 bps   Vanguard Growth        26 bps        42.31%
     & Income Inv                  & Income Adm
23   (VQNPX)                       (VGIAX)
24   Vanguard Growth      23 bps   Vanguard Growth         8 bps       187.50%
     Index Inv                     Index Instl
25   (VIGRX)                       (VIGIX)
26   Vanguard Health      35 bps   Vanguard Health        30 bps        16.67%
     Care Inv                      Care Adm
27   (VGHCX)                       (VGHAX)
28
                                       - 29 -
                                    COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 30 of 70 Page ID #:30



 1
                                                       Identical
 2   Plan Mutual Fund      Plan      Identical Lower- Lower-Cost        Plans’
                           Fee      Cost Mutual Fund    Mutual        Excess Cost
 3                                                     Fund Fee
 4
     Vanguard High-        23 bps   Vanguard High-        13 bps        76.92%
 5   Yield Corporate                Yield Corporate
     Inv (VWEHX)                    Adm (VWEAX)
 6
     Vanguard              20 bps   Vanguard               7 bps       185.71%
 7   Inflation-Protected            Inflation-Protected
     Securities Inv                 Securities Instl
 8   (VIPSX)                        (VIPIX)
 9   Vanguard              20 bps   Vanguard               5 bps       300.00%
     Intermediate-Term              Intermediate-Term
10   Bond Index Inv                 Bond Index Instl
     (VBIIX)                        Plus (VBIUX)
11
     Vanguard              20 bps   Vanguard              10 bps       100.00%
12   Intermediate-Term              Intermediate-Term
     Investment-Grade               Investment-Grade
13   Inv (VFICX)                    Adm (VFIDX)
14   Vanguard              20 bps   Vanguard              10 bps       100.00%
     Intermediate-Term              Intermediate-Term
15   Treasury Inv                   Treasury Adm
     (VFITX)                        (VFIUX)
16
17   Vanguard              47 bps   Vanguard              34 bps        38.24%
     International                  International
18   Growth Inv                     Growth Adm
     (VWIGX)                        (VWILX)
19
     Vanguard Large-       23 bps   Vanguard Large-        8 bps       187.50%
20   Cap Index Inv                  Cap Index Instl
     (VLACX)                        (VLISX)
21   Vanguard Long-        20 bps   Vanguard Long-         5 bps       300.00%
     Term Bond Index                Term Bond Index
22   Inv (VBLTX)                    Instl Plus (VBLIX)
23   Vanguard Long-        22 bps   Vanguard Long-        12 bps        83.33%
     Term Investment-               Term Investment-
24   Grade Inv                      Grade Adm
     (VWESX)                        (VWETX)
25
26   Vanguard Long-        20 bps   Vanguard Long-        10 bps       100.00%
     Term Treasury Inv              Term Treasury
27   (VUSTX)                        Adm (VUSUX)
28
                                        - 30 -
                                     COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 31 of 70 Page ID #:31



 1
                                                      Identical
 2   Plan Mutual Fund      Plan     Identical Lower- Lower-Cost         Plans’
                           Fee     Cost Mutual Fund    Mutual         Excess Cost
 3                                                    Fund Fee
 4
     Vanguard Mid Cap     23 bps   Vanguard Mid Cap        6 bps       283.33%
 5   Index Inv                     Index Instl Plus
     (VIMSX)                       (VMCPX)
 6
     Vanguard Mid-Cap     23 bps   Vanguard Mid-Cap        9 bps       155.56%
 7   Growth Index Inv              Growth Index Adm
     (VMGIX)                       (VMGMX)
 8
     Vanguard Mid-Cap     23 bps   Vanguard Mid-Cap        9 bps       155.56%
 9   Value Index Inv               Value Index Adm
     (VMVIX)                       (VMVAX)
10
11   Vanguard Morgan      40 bps   Vanguard Morgan        26 bps        53.85%
     Growth Inv                    Growth Adm
12   (VMRGX)                       (VMRAX)

13   Vanguard Pacific     26 bps   Vanguard Pacific        9 bps       188.89%
     Stock Index Inv               Stock Index Instl
14   (VPACX)                       (VPKIX)

15   Vanguard Prime       14 bps   Vanguard Prime         10 bps        40.00%
     Money Market Inv              Money Market
16   (VMMXX)                       Adm (VMRXX)

17   Vanguard             44 bps   Vanguard               35 bps        25.71%
     PRIMECAP Inv                  PRIMECAP Adm
18   (VPMCX)                       (VPMAX)
     Vanguard REIT        24 bps   Vanguard REIT           8 bps       200.00%
19   Index Inv (VGSIX)             Index Instl
                                   (VGSNX)
20   Vanguard Short-      20 bps   Vanguard Short-         5 bps       300.00%
     Term Bond Index               Term Bond Index
21   Inv (VBISX)                   Instl (VBIPX)
22   Vanguard Short-      20 bps   Vanguard Short-        10 bps       100.00%
23   Term Federal Inv              Term Federal Adm
     (VSGBX)                       (VSGDX)
24
     Vanguard Short-      20 bps   Vanguard Short-         7 bps       185.71%
25   Term Investment-              Term Investment-
     Grade Inv                     Grade Instl
26   (VFSTX)                       (VFSIX)
     Vanguard Short-      20 bps   Vanguard Short-        10 bps       100.00%
27   Term Treasury Inv             Term Treasury
     (VFISX)                       Adm (VFIRX)
28
                                       - 31 -
                                    COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 32 of 70 Page ID #:32



 1
                                                       Identical
 2   Plan Mutual Fund      Plan      Identical Lower- Lower-Cost        Plans’
                           Fee      Cost Mutual Fund    Mutual        Excess Cost
 3                                                     Fund Fee
 4
     Vanguard Small        23 bps   Vanguard Small         8 bps       187.50%
 5   Cap Growth Index               Cap Growth Index
     Inv (VISGX)                    instl (VSGIX)
 6
     Vanguard Small        23 bps   Vanguard Small         6 bps       283.33%
 7   Cap Index Inv                  Cap Index Instl
     (NAESX)                        Plus (VSCPX)
 8
     Vanguard Small        23 bps   Vanguard Small         8 bps       187.50%
 9   Cap Value Index                Cap Value Index
     Inv (VISVX)                    Instl (VSIIX)
10
11   Vanguard Total        20 bps   Vanguard Total         5 bps       300.00%
     Bond Market Index              Bond Market Index
12   Inv (VBMFX)                    Instl (VBMPX)

13   Vanguard Total        22 bps   Vanguard Total        10 bps       120.00%
     International Stock            International Stock
14   Index Inv                      Index Instl Plus
     (VGTSX)                        (VTPSX)
15
     Vanguard Total        17 bps   Vanguard Total         2 bps       750.00%
16   Stock Market                   Stock Market
     Index Inv                      Index Instl Plus
17   (VTSMX)                        (VITPX)
     Vanguard Total        27 bps   Vanguard Total        15 bps        80.00%
18   World Stock Index              World Stock Index
     Inv (VTWSX)                    Instl Plus
19                                  (VTWIX)
20   Vanguard U.S.         44 bps   Vanguard U.S.         30 bps        46.67%
     Growth Inv                     Growth Adm
21   (VWUSX)                        (VWUAX)

22   Vanguard Value        23 bps   Vanguard Value         8 bps       187.50%
     Index Inv                      Index Instl
23   (VIVAX)                        (VIVIX)
     Vanguard              25 bps   Vanguard              18 bps        38.89%
24   Wellesley Income               Wellesley Income
     Inv (VWINX)                    Adm (VWIAX)
25
     Vanguard              26 bps   Vanguard              18 bps        44.44%
26   Wellington Inv                 Wellington Adm
     (VWELX)                        (VWENX)
27
28
                                        - 32 -
                                     COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 33 of 70 Page ID #:33



 1
                                                           Identical
 2   Plan Mutual Fund          Plan      Identical Lower- Lower-Cost              Plans’
                               Fee      Cost Mutual Fund    Mutual              Excess Cost
 3                                                         Fund Fee
 4
     Vanguard Windsor         36 bps    Vanguard Windsor          28 bps          28.57%
 5   II Inv (VWNFX)                     II Adm (VWNAX)
 6   Vanguard Windsor         38 bps    Vanguard Windsor          28 bps          35.71%
     Inv (VWNDX)                        Adm (VWNEX)
 7
 8         81.      These lower-cost share classes of the identical mutual funds for the
 9   Plans have been available for years, some dating back over a decade or before.
10         82.      The failure to select far lower-cost share classes for the Plans’ mutual
11   fund options that are otherwise identical in all respects (portfolio manager,
12   underlying investments, and asset allocation) except for cost demonstrates that
13   Defendants failed to consider the size and purchasing power of the Plans when
14   selecting share classes and failed to engage in a prudent process for the selection,
15   monitoring, and retention of those mutual funds.
16         83.      Had the amounts invested in the higher-cost share class mutual fund
17   options instead been invested in the available lower-cost share class mutual fund
18   options, the Plans’ participants would not have lost millions of dollars of their
19   retirement savings.
20      IV.      Defendants selected and retained a large number of duplicative
21               investment options, diluting the Plans’ ability to pay lower fees and
22               confusing participants.
23         84.      Defendants provided a litany of duplicative funds in the same
24   investment style, thereby depriving the Plans of their bargaining power associated
25   with offering a single fund in each investment style that significantly reduces
26   investment fees, and leading to “decision paralysis” for participants. Prior to March
27   2016, Defendants placed over 340 investments in the investment lineup for the
28
                                              - 33 -
                                           COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 34 of 70 Page ID #:34



 1   following asset classes: target date and asset allocation funds, large cap domestic
 2   equities, mid cap domestic equities, small cap domestic equities, international
 3   equities, real estate, fixed income, and money market.
 4           85.    In comparison, according to Callan Investments Institute’s 2015
 5   Defined Contribution Trends survey, defined contribution plans in 2014 had on
 6   average 15 investment options, excluding target date funds. Callan Investments
 7   Institute, 2015 Defined Contribution Trends, at 28 (2015).17 This provides choice of
 8   investment style to participants while maintaining a large pool of assets in each
 9   investment style and avoiding confusion.
10           86.    A larger pool of assets in each investment style significantly reduces
11   fees paid by participants. By consolidating duplicative investments of the same
12   investment style into a single investment option, the Plans would then have the
13   ability to command lower-cost investments, such as a low-cost institutional share
14   class of the selected mutual fund option.
15           87.    Prudent fiduciaries of large defined contribution plans must engage in
16   a detailed due diligence process to select and retain investments for a plan based on
17   the risk, investment return, and expenses of available investment alternatives.
18   Overall, the investment lineup should provide participants with the ability to
19   diversify their portfolio appropriately while benefiting from the size of the pooled
20   assets of other employees and retirees.
21           88.    Within each asset class and investment style in the plan, prudent
22   fiduciaries must make a reasoned determination and select a prudent investment
23   option. Unlike the Defendant, prudent fiduciaries do not select and retain numerous,
24   duplicative investment options for a single asset class and investment style. When
25   many investment options in a single investment style are plan options, fiduciaries
26   lose the bargaining power to obtain much lower investment management expenses
27   for that style.
28     17
            Available at https://www.callan.com/research/files/990.pdf.
                                              - 34 -
                                         COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 35 of 70 Page ID #:35



 1          89.   In addition, providing multiple options in a single investment style
 2   adds unnecessary complexity to the investment lineup, and leads to decision
 3   paralysis. See The Standard, Fixing Your 403(b) Plan: Adopting a Best Practices
 4   Approach, at 2 (Nov. 2009)(“Numerous studies have demonstrated that when
 5   people are given too many choices of anything, they lose confidence or make no
 6   decision.”); Michael Liersch, Choice in Retirement Plans: How Participant
 7   Behavior Differs in Plans Offering Advice, Managed Accounts, and Target-Date
 8   Investments, T. ROWE PRICE RETIREMENT RESEARCH, at 2 (Apr. 2009)(“Offering
 9   too many choices to consumers can lead to decision paralysis, preventing
10   consumers from making decisions.”).18
11          90.   Moreover, having many actively managed funds in the Plan within the
12   same investment style results in the Plans effectively having an index fund return,
13   while paying much higher fees for active management than the fees of a passive
14   index fund, which has much lower fees because there is no need for active
15   management and its higher fees.
16          91.   Defendants provided duplicative investments in every major asset
17   class and investment style, including balanced/asset allocation (at least 24 options),
18   fixed income and high yield bond (at least 52 options), international (at least 55
19   options), mid cap domestic equities (at least 31 options), small cap domestic
20   equities (at least 18 options), real estate (at least 7 options), money market (at least
21   12 options), sector/specialty funds (at least 48 options), and target date investments
22   (3 fund families). Such an overwhelming array of duplicative funds in a single
23   investment style violates the well-recognized industry principle that too many
24   choices harm participants and can lead to decision paralysis.
25          92.   For illustration purposes, the Plans’ approximately 16 large cap
26   domestic blend investments as of December 31, 2014 are summarized below and
27     18
          Available at
     http://www.behavioralresearch.com/Publications/Choice_in_Retirement_Plans_Apr
28   il_2009.pdf.
                                         - 35 -
                                     COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 36 of 70 Page ID #:36



 1   compared to a single lower-cost alternative available to the Plans: the Vanguard
 2   Institutional Index Fund (Instl. Plus) (VIIIX), which mirrors the market and has an
 3   expense ratio of 2 bps. The DC Plan’s assets are noted in this example.
 4
 5             Large Cap                                Institutional    Plans’
                 Blend             Assets        Fee    Index Fund       Excess
 6             Investment                                 (VIIIX)         Cost
 7            CREF Equity     $45,696,150        37         2 bps        1750%
             Index Account                       bps
 8             CREF Stock                        46
                   Account    $242,459,930       bps        2 bps        2200%
 9
                   Fidelity
10              Disciplined    $1,463,260        39         2 bps        1850%
                Equity (K)                       bps
11               (FDEKX)
12           Fidelity Growth                     52
              & Income (K)    $10,197,038        bps        2 bps        2500%
13                (FGIKX)
              Fidelity Large
14               Cap Core       $209,186         45         2 bps        2150%
             Enhanced Index                      bps
15               (FLCEX)
              Fidelity Large                     88
16               Cap Stock      $908,109                    2 bps        4300%
                  (FLCSX)                        bps
17            Fidelity Mega
                 Cap Stock     $1,536,892        68         2 bps        3300%
18               (FGRTX)                         bps
19           Fidelity Spartan
            500 Index (Instl) $18,588,698       4 bps       2 bps         100%
20                (FXSIX)
             Fidelity Spartan
21            Total Market
               Index (Instl)   $5,797,878       5 bps       2 bps         150%
22               (FSKTX)
23          Prudential Stock                     25
                 Index (Z)     $2,870,553        bps        2 bps        1150%
24                 (PSIFX)
              Vanguard 500                       17
25              Index (Inv)   $16,886,278        bps        2 bps         750%
                  (VFINX)
26          Vanguard Growth
             & Income (Inv)    $1,454,767        37         2 bps        1750%
27               (VQNPX)                         bps
28
                                          - 36 -
                                       COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 37 of 70 Page ID #:37


                Large Cap                                   Institutional   Plans’
 1                 Blend              Assets        Fee     Index Fund      Excess
                Investment                                    (VIIIX)        Cost
 2
             Vanguard Large-                        23
 3            Cap Index (Inv)        $349,936       bps        2 bps        1050%
                 (VLACX)
 4               Vanguard
             PRIMECAP Core          $1,881,908      50         2 bps        2400%
 5            (Inv) (VPCCX)                         bps
 6            Vanguard Total
               Stock Market        $13,474,198      17         2 bps         750%
 7              Index (Inv)                         bps
                 (VTSMX)
 8
                 DC Plan Total    $363,809,716
 9                  Assets
10
11          93.     With over $640 million in combined Plan assets held in the CREF
12   Stock Account and the CREF Equity Index Account, these large cap blend options
13   were 23 and 18 times more expensive than the lower-cost Vanguard option with an
14   expense ratio of 2 bps, respectively.
15
                  Excessive Expense Ratio of CREF Stock Account and CREF
16                                  Equity Index Account
17                               46 bps                        CREF Expense 2200%–
                                                               1750% higher than Index
18                                               37 bps        Fund
            50
19
            40
20
            30
21
            20                                                 2 bps
22
            10
23
24           0
          Basis Points
             (bps)     CREF Stock Account       CREF Equity Index Account     VIIIX
25
26
27   //
28   //
                                               - 37 -
                                            COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 38 of 70 Page ID #:38



 1         94.    Many other large cap index funds are also available at far lower costs
 2   than the Plans’ large cap blend funds. If those investments were consolidated into a
 3   single investment for the large cap domestic blend asset category, such as the
 4   Vanguard Institutional Index Fund (Inst Plus), the Plans would have saved millions
 5   of dollars in investment management expenses for 2014 alone, and many more
 6   millions since 2010.
 7         95.    In addition, Defendants selected and continue to retain multiple
 8   passively managed index options in the same investment style. Rather than a fund
 9   whose investment manager actively selects stocks or bonds to hold and generate
10   investment returns in excess of its benchmark, passively managed index funds hold
11   a representative sample of securities in a specific index, such as the S&P 500 index.
12   The sole investment strategy of an index fund is to track the performance of a
13   specific market index. No stock selection or research is needed, unlike investing in
14   actively managed funds. Thus, index fund fees are substantially lower.
15         96.    For example, in the large cap blend investment style, Defendants
16   provided at least seven index funds that have similar investment strategies designed
17   to generate investment results that correspond to the return of the U.S. equity
18   market and do not involve stock selection.
19         97.    Since index funds merely hold the same securities in the same
20   proportions as the index, having multiple index funds in the Plans provides no
21   benefit to participants. Instead, it hurts participants by diluting the Plans’ ability to
22   obtain lower rates for a single index fund of that style because the size of assets in
23   any one such fund is smaller than the aggregate would be in that investment style.
24   Moreover, multiple managers holding stocks which mimic the S&P 500 or a similar
25   index would pick the same stocks in the same proportions as the index. Thus, there
26   is no value in offering separate index funds in the same investment style.
27   //
28   //
                                            - 38 -
                                         COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 39 of 70 Page ID #:39



 1           98.     Had Defendants combined Plan assets of duplicative index funds into a
 2   single index fund, the Plans would have generated higher returns, net of fees, and
 3   participants would not have lost significant retirement assets.
 4           99.     Overall, Defendants failed to pool the assets invested in duplicative
 5   investment options for the same investment style into a single investment option, as
 6   set forth in ¶91, which caused the Plans’ participants to pay millions of dollars in
 7   unreasonable investment expenses, thereby depleting their retirement assets.
 8      V.         Defendants have admitted that the Plans’ prior structure was
 9                 imprudent and caused unreasonable fees to be charged to the Plans.
10           100. Defendants expressly acknowledged that the Plans’ multiple
11   recordkeeper structure and hundreds of investment options caused the Plans to pay
12   unreasonable recordkeeping and investment fees. In a January 27, 2016 Plan
13   communication notifying participants of the March 2016 changes, Defendants
14   stated:
15           These changes are designed to simplify your investment
16           choices for retirement savings, encourage better decision
17           making and lower costs. Highlights of the changes include a
18           fund menu with a suite of target date retirement funds and 34
19           best-in-class funds available through three investment
20           providers (Fidelity, TIAA-CREF and Vanguard), lower cost
21           share classes whenever possible, and a self-directed brokerage
22           window.19
23           101. In the Transition Guide, Defendants further recognized the benefits of
24   the consolidated investment lineup.
25           A new streamlined investment lineup
26
       19
          Michael W. Quick to USC Retirement Plan Participants, USC Retirement Plan
27   Changes, Jan. 27, 2016 (emphasis added), available at
     https://benefits.usc.edu/files/2015/12/Signed-Plan-Changes-Announcement-
28   Letter.pdf.
                                             - 39 -
                                         COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 40 of 70 Page ID #:40



 1              1 suite of target date retirement funds.
 2              34 mutual funds and annuity contracts.
 3              Lower administrative costs.
 4              Lower-cost share classes whenever possible.20
 5         102. Debra Fabanish, the Director of USC’s Retirement Plan
 6   Administration, described the changes made to the Plans and directly admitted that
 7   the prior Plan structure led to higher fees and decision paralysis by Plan
 8   participants.
 9         What?
10         Effective March 1, the University will implement a set of
11         changes to the USC retirement plans designed to:
12              Simplify your investment choices for retirement.
13              Encourage better decision making.
14              Lower expenses.
15         Why?
16         Many participants opt out of active decision making:
17              Overwhelmed by over 350 current fund choices.
18              Default rate amount newly eligible employees is almost
19                   50%.
20              Current default provider is designed for a more engaged
21                   participant.21
22         103. Moreover, Ms. Fabanish specifically noted the Committee’s “Guiding
23   Principles & Goals” in support of the Plan changes, which included meeting their
24   “fiduciary obligations” and lowering investment expenses by “leveraging” Plan
25   assets. In their entirety, these principles included:
26    20
         University of Southern California, USC Retirement Plans Transition Guide, at
     2–3
      21
         available at https://benefits.usc.edu/files/2015/12/USC-Transition-Guide.pdf.
27       University of Southern California, Changes to USC Retirement Plans 2016
     Webcast (Feb. 2016)(bold emphasis added), available at
28   https://benefits.usc.edu/retirement/retirement-plan/your-investments/.
                                              - 40 -
                                         COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 41 of 70 Page ID #:41



 1              Guiding Principles & Goals
 2                  Simplify the participant experience in selecting
 3                    investments.
 4                  Meet fiduciary obligations.
 5                  Leverage the assets in the USC plans to obtain lower
 6                    cost investment options.
 7                  Maintain existing relationships with investment providers
 8                    (Fidelity, TIAA-CREF and Vanguard).
 9                  Offer the choice of low cost investment options.
10                  Offer the choice of best-in-class investment options.
11                  Provide a self-directed brokerage account for
12                    sophisticated participants who want more investment
13                    options.
14                  Minimize unnecessary disruption.22
15              104. Had Defendants conducted a prudent and loyal analysis of the Plans’
16   investments and service providers many years before 2016, or at least by 2009, Plan
17   participants would have avoided paying millions of dollars in unreasonable
18   investment and administrative fees, and millions of dollars in performance losses.
19         VI.     Defendants imprudently and disloyally retained historically
20                 underperforming Plan investments.
21              105. Given the overlap in investment options in asset classes and
22   investment styles based on Defendants’ failure to conduct appropriate due diligence
23   in selecting and retaining the Plans’ investments, numerous investment options
24   underperformed lower-cost alternatives that were available to the Plans.
25   //
26   //
27   //
28        22
               Changes to USC Retirement Plans 2016 Webcast (emphasis added).
                                              - 41 -
                                         COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 42 of 70 Page ID #:42



 1             A.      CREF Stock Account
 2         106. The CREF Stock Account is one of the largest, by asset size,
 3   investment options in the Plans with over $550 million in assets. The CREF Stock
 4   Account is the largest large cap blend investment option in the Plans and has been
 5   included in the Plans from 2010 to date. In its fund fact sheets and participant
 6   disclosures, TIAA-CREF classifies the CREF Stock Account as a domestic equity
 7   investment in the large cap blend Morningstar category. This option has
 8   consistently underperformed over years, and continues to underperform its
 9   benchmark and lower-cost actively and passively managed investments that were
10   available to the Plans.
11         107. TIAA-CREF imposed restrictive provisions on the specific annuities
12   that must be provided in the Plans. Under these terms, TIAA-CREF required that
13   the CREF Stock Account be offered to Plan participants, in addition to the TIAA
14   Traditional Annuity and the CREF Money Market Account. Plan fiduciaries
15   provided these mandatory offerings in the Plans without a prudent process to
16   determine whether they were prudent alternatives and in the exclusive best interest
17   of Plan participants and beneficiaries. TIAA-CREF required the CREF Stock
18   Account to be included in the Plans to drive very substantial amounts of revenue
19   sharing payments to TIAA-CREF for recordkeeping services. The CREF Stock
20   Account paid 24 bps for revenue sharing, which exceeded other TIAA-CREF
21   investments by over 50% (15 bps).
22         108. As is generally understood in the investment community, passively
23   managed investment options should be used or, at a minimum, thoroughly analyzed
24   and considered in efficient markets such as large capitalization U.S. stocks. This is
25   because it is difficult and extremely unlikely to find actively managed mutual funds
26   that outperform a passive index, net of fees, particularly on a persistent basis, as set
27   forth in ¶¶72–74. This extreme unlikelihood is even greater in the large cap market
28   because such big companies are the subject of many analysts’ coverage, unlike
                                           - 42 -
                                      COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 43 of 70 Page ID #:43



 1   smaller stocks that are not covered by many analysts leading to potential
 2   inefficiencies in pricing.
 3           109. The efficiencies of the large cap market hinder an active manager’s
 4   ability to achieve excess returns for investors.
 5           [T]his study of mutual funds does not provide any reason to
 6           abandon a belief that securities markets are remarkably efficient.
 7           Most investors would be considerably better off by purchasing a
 8           low expense index fund, than by trying to select an active fund
 9           manager who appears to possess a “hot hand.” Since active
10           management generally fails to provide excess returns and tends
11           to generate greater tax burdens for investors, the advantage of
12           passive management holds, a fortiori.
13   Burton G. Malkiel, Returns from Investing in Equity Mutual Funds 1971 to 1991,
14   50 J. FIN. 549, 571 (1995).23
15           110. Academic literature overwhelmingly concludes that active managers
16   consistently underperform the S&P 500 index.
17           Active managers themselves provide perhaps the most
18           persuasive case for passive investing. Dozens of studies have
19           examined the performance of mutual funds and other
20           professional-managed assets, and virtually all of them have
21           concluded that, on average, active managers underperform
22           passive benchmarks . . . . The median active fund
23           underperformed the passive index in 12 out of 18 years [for the
24           large-cap fund universe]. . . . The bottom line is that, over most
25           periods, the majority of mutual fund investors would have been
26           better off investing in an S&P 500 Index fund.
27           ***
28     23
            Available at http://indeksirahastot.fi/resource/malkiel.pdf.
                                                - 43 -
                                          COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 44 of 70 Page ID #:44



 1         Most of the dismal comparisons for active managers are for
 2         large-cap domestic managers versus the S&P 500 Index.
 3   Robert C. Jones, Chapter 3: The Active Versus Passive Debate: Perspectives of an
 4   Active Quant, ACTIVE EQUITY PORTFOLIO MANAGEMENT, at 37, 40, 53 (Frank J.
 5   Fabozzi ed., 1998).
 6         111. Prudent fiduciaries of large defined contribution plans must conduct an
 7   analysis to determine whether large cap actively managed funds will outperform
 8   their benchmark net of fees. Prudent fiduciaries then make a reasoned decision as to
 9   whether it would be in the participants’ best interest to offer an actively managed
10   large cap option for the particular investment style and asset class.
11         112. Defendants failed to undertake such analysis when they selected and
12   retained the actively managed CREF Stock Account. Defendants also provided the
13   fund option without conducting a prudent analysis despite the acceptance within the
14   investment industry that the large cap domestic equity market is the most efficient
15   market, and active managers do not outperform passive managers net of fees in this
16   investment style.
17         113. Had such an analysis been conducted by Defendants, they would have
18   determined that the CREF Stock Account would not be expected to outperform the
19   large cap index after fees. That is in fact what occurred.
20         114. Rather than poor performance in a single year or two, historical
21   performance of the CREF Stock Account has been persistently poor for many years
22   compared to both available lower-cost index funds and the index benchmark. Upon
23   information and belief, in participant communications, Defendants and TIAA-
24   CREF identified the Russell 3000 index as the appropriate benchmark to evaluate
25   the fund’s investment results. The following performance chart compares the
26   investment returns of the CREF Stock Account to its benchmark and two other
27   passively managed index funds in the same investment style for the one-, five-, and
28
                                           - 44 -
                                        COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 45 of 70 Page ID #:45



 1   ten-year periods ending December 31, 2014.24 The passively managed index funds
 2   used for comparison purposes are the Vanguard Total Stock Market Index Fund
 3   (Inst Pl) (VITPX) and the Vanguard Institutional Index (Inst Pl) (VIIIX). Like the
 4   CREF Stock Account, these options are large cap blend investments. For each
 5   comparison, the CREF Stock Account dramatically underperformed the benchmark
 6   and index alternatives.
 7
 8                                    CREF Stock Account
                         One-, Five-, and Ten-Year Investment Returns
 9                                 Compared to Benchmarks
                                          (as of Dec. 31, 2014)
10
                                                30%–33%
11                                             greater than
                        96%–113%               CREF return
12     17.00%
                       greater than
13                     CREF return
       15.00%
14     13.00%
15                                                                      16%–23%
       11.00%                                                          greater than
16                                                                     CREF return
        9.00%
17
18      7.00%

19      5.00%
                       1 Year                 5 Year                10 Year
20
21                   CREF Stock Account     VITPX         VIIIX   Russell 3000

22
23
            115. The CREF Stock Account with an expense ratio of 46 bps as of
24
     December 31, 2014, was and is dramatically more expensive than far better
25
     performing index alternatives: the Vanguard Total Stock Market Index Fund (Inst
26
     Plus) (2 bps) and the Vanguard Institutional Index (Inst Plus) (2 bps).
27
       24
         Performance data provided as of December 31, 2014 to correspond to the most
28   recent filing of the Plans’ Form 5500 with the Department of Labor.
                                            - 45 -
                                        COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 46 of 70 Page ID #:46



 1           116. Apart from underperforming passively managed index funds, the fund
 2   also significantly underperformed comparable actively managed funds over the
 3   one-, five-, and ten-year periods ending December 31, 2014. These large cap blend
 4   alternatives with similar underlying asset allocations to the CREF Stock Account
 5   include the Vanguard Diversified Equity (Inv) (VDEQX), Vanguard PRIMECAP
 6   (Adm) (VPMAX), and Vanguard Capital Opp. (Adm) (VHCAX).
 7
                                    CREF Stock Account
 8                One-, Five- and Ten- Year Investment Returns Compared
 9                            to Actively Managed Benchmarks
                                          (as of Dec. 31, 2014)
10
11                      73%–196%
                        greater than
12                      CREF return              28%–37%
       19%                                      greater than
13
                                                CREF return
14     17%

15     15%
16                                                                     20%–56%
       13%                                                            greater than
17                                                                    CREF return
       11%
18
        9%
19
20      7%

21      5%
                      1 Year                 5 Year                 10 Year
22                   CREF Stock Account     VDEQX           VPMAX     VHCAX
23
24
             117. The CREF Stock Account also had a long history of substantial
25
     underperformance compared to actively managed alternatives over the one-, five-,
26
     and ten-year periods ending December 31, 2009.25
27
28     25
            Because the Vanguard Diversified Equity Fund’s inception date was June 10,
                                            - 46 -
                                       COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 47 of 70 Page ID #:47



 1
                               CREF Stock Account
 2                   One-Year Investment Returns Compared to
 3                        Actively Managed Benchmarks
                                     (as of Dec. 31, 2009)
 4
 5                                     6%–53%
                                     greater than
 6         50%                       CREF return

 7         45%

 8         40%

 9         35%

10         30%
                                       1 Year
11                  CREF Stock Account    VDEQX              VPMAX   VHCAX
12
13                               CREF Stock Account
14                    Five-Year Investment Returns Compared to
                            Actively Managed Benchmarks
15                                   (as of Dec. 31, 2009)
                                                     174%–206%
16                                                   greater than
17                                                   CREF return
          6.00%
18
          5.00%
19        4.00%
20        3.00%
          2.00%
21
          1.00%
22        0.00%
                                      5 Year
23                      CREF Stock Account   VPMAX              VHCAX
24
25
     2006, it was excluded from the five- and ten-year periods. For the Vanguard
26   PRIMECAP (Adm) and Vanguard Capital Opportunity Fund (Adm), the investment
     returns of the investor share class for ten-year performance were used because the
27   admiral share class for each of these funds was not offered until November 12,
     2001. The return since inception for the Vanguard PRIMECAP (Adm) was 3.23%,
28   and for the Vanguard Capital Opportunity Fund (Adm), 5.89%.
                                               - 47 -
                                         COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 48 of 70 Page ID #:48



 1
                                 CREF Stock Account
 2
                       Ten-Year Investment Returns Compared to
 3                          Actively Managed Benchmarks
                                      (as of Dec. 31, 2009)
 4
 5
 6                            3130%–5790%
                               greater than
 7                             CREF return
             6.00%
 8
             4.00%
 9
10           2.00%

11           0.00%
                                       10 Year
12                        CREF Stock Account   VPMAX          VHCAX
13
14
            118. Despite the consistent underperformance, the CREF Stock Account
15
     with an expense ratio of 46 bps as of December 31, 2014 was more expensive than
16
     better performing actively managed alternatives: Vanguard Diversified Equity (Inv)
17
     (40 bps), Vanguard PRIMECAP (Adm) (35 bps), and Vanguard Capital Opp.
18
     (Adm) (40 bps).
19
            119. Apart from the abysmal long-term underperformance of the CREF
20
     Stock Account compared to both index funds and actively managed funds, the fund
21
     was recognized as imprudent in the industry. In March 2012, an independent
22
     investment consultant, AonHewitt, recognized the imprudence of the CREF Stock
23
     Account and recommended to its clients that they remove this fund from their
24
     retirement plan. AonHewitt, TIAA-CREF Asset Management, INBRIEF, at 3 (July
25
     2012).26 This recommendation was due to numerous factors, including the historical
26
     underperformance, high turnover of asset management executives and portfolio
27
       26
        Available at http://system.nevada.edu/Nshe/?LinkServID=82B25D1E-9128-
28   6E45-1094320FC2037740.
                                           - 48 -
                                      COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 49 of 70 Page ID #:49



 1   managers, and the fund’s over 60 separate underlying investment strategies, greatly
 2   reducing the fund’s ability to generate excess returns over any substantial length of
 3   time. Id. at 4–5.
 4             120. The Supreme Court has recently and unanimously ruled that ERISA
 5   fiduciaries have “a continuing duty to monitor investments and remove imprudent
 6   ones[.]” Tibble v. Edison Int’l, 135 S. Ct. 1823, 1829 (2015). In contrast to the
 7   conduct of a prudent fiduciary, Defendants failed to conduct a prudent process to
 8   monitor the CREF Stock Account and continue to retain the fund despite
 9   underperforming lower-cost investment alternatives that were readily available to
10   the Plans.
11             121. Prudent fiduciaries of defined contribution plans continuously monitor
12   the investment performance of plan options against applicable benchmarks and peer
13   groups to identify underperforming investments. Based on this process, prudent
14   fiduciaries replace those imprudent investments with better performing and
15   reasonably priced options.
16             122. Defendants’ imprudent and disloyal inclusion and retention of the
17   CREF Stock Account caused the Plans to lose over $130 million compared to what
18   the Plans would have earned had the same amount of assets been invested in certain
19   of the lower-cost prudent alternatives, as set forth in ¶¶114–116.27
20                B.     TIAA Real Estate Account
21             123. Defendants selected and continue to offer the TIAA Real Estate
22   Account as a real estate investment option in the Plans. The fund has far greater
23   fees than are reasonable, has historically underperformed, and continues to
24   consistently underperform comparable real estate investment alternatives, including
25   the Vanguard REIT Index (Inst) (VGSNX).
26   //
27        27
         Plan losses have been brought forward to the present value using the
     investment returns of the lower-cost alternatives to compensate participants who
28   have not been reimbursed for their losses.
                                             - 49 -
                                       COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 50 of 70 Page ID #:50



 1              124. With an expense ratio of 87 bps as of December 31, 2014, the TIAA
 2   Real Estate Account is also over 10 times more expensive than the Vanguard REIT
 3   Index (Inst) with an expense ratio of 8 bps.
 4
                                   TIAA Real Estate Account
 5                   Expense Ratio Compared to REIT Index Fund (VGSNX)
 6                                    87 bps
 7
                90
 8                                                 TIAA Expense 988% Higher than
                80                                 REIT Index Fund
 9              70
10              60
11              50
                40
12
                30                                            8 bps
13
                20
14              10
15               0
                        TIAA Real Estate Account        VGSNX
16        Basis Points (bps)
17
18
19              125. The TIAA Real Estate Account had a long history of substantial
20   underperformance relative to the Vanguard REIT Index over the one-, five-, and
21   ten-year periods ending December 31, 2009.28 Despite this, Defendants selected and
22   to date retain it in the Plan.
23   //
24   //
25   //
26   //
27         28
          The return of the investor share class was used for ten-year performance
     because the institutional share class was not offered until December 2, 2003. The
28   return since inception for the Vanguard REIT Index (Inst) was 5.49%.
                                              - 50 -
                                         COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 51 of 70 Page ID #:51



 1
 2                                 TIAA Real Estate Account
 3                          One-Year Investment Returns Compared to
                                  REIT Index Fund (VGSNX)
 4                                           (as of Dec. 31, 2009)

 5
                                                                  208%
 6                                                             greater than
                40%
                                                               TIAA return
 7              30%
 8              20%
                10%
 9
                 0%
10
                -10%
11              -20%
12              -30%

13              -40%
                                                  1 Year
14                             TIAA Real Estate Account          VGSNX

15
16                              TIAA Real Estate Account
                        Five-Year Investment Returns Compared to
17                             REIT Index Fund (VGSNX)
                                       (as of Dec. 31, 2009)
18
19                                                            143%
                                                           greater than
20             1.00%
                                                           TIAA return
               0.50%
21
               0.00%
22
               -0.50%
23
               -1.00%
24
               -1.50%
25             -2.00%
26                                          5 Year
                              TIAA Real Estate Account            VGSNX
27
28
                                          - 51 -
                                       COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 52 of 70 Page ID #:52



 1
 2
                             TIAA Real Estate Account
 3                   Ten-Year Investment Returns Compared to
                            REIT Index Fund (VGSNX)
 4                                  (as of Dec. 31, 2009)

 5
                                                         239%
 6                                                    greater than
                                                         TIAA
 7                                                       return
 8                  12%
 9                  10%

10                   8%
                     6%
11
                     4%
12                   2%
                                        10 Year
13
                            TIAA Real Estate Account        VGSNX
14
15             126. This underperformance occurred for years before 2009 and has

16   continued afterward. The TIAA Real Estate Account vastly underperformed the

17   Vanguard REIT Index (Inst) over the one-, five-, and ten-year periods ending

18   December 31, 2014.29

19   //

20   //

21   //

22   //

23   //

24   //

25   //

26   //

27
          29
         Performance data provided as of December 31, 2014 to correspond to the most
28   recent filing of the Plans’ Form 5500 with the Department of Labor.
                                            - 52 -
                                        COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 53 of 70 Page ID #:53



 1
                                TIAA Real Estate Account
 2                     One-, Five-, and Ten-Year Investment Returns
 3                      Compared to REIT Index Fund (VGSNX)
                                         (as of Dec. 31, 2014)
 4                        148% greater
 5                         than TIAA
                             return
 6
 7          29%

 8                                                 46% greater
            24%                                     than TIAA
 9                                                    return
10          19%
                                                                         79% greater
11          14%
                                                                          than TIAA
                                                                            return
12
             9%
13
14           4%
15                       1 Year                5 Year                10 Year

16                            TIAA Real Estate Account           VGSNX

17
18
19         127. As the Supreme Court unanimously ruled in Tibble, prudent fiduciaries
20   of defined contribution plans continuously monitor plan investment options and
21   replace imprudent investments. 135 S. Ct. at 1829. In contrast, Defendants failed to
22   conduct such a process and continue to retain the TIAA Real Estate Account as a
23   Plan investment option, despite its continued dramatic underperformance and far
24   higher cost compared to available investment alternatives.
25         128. Defendants’ imprudent and disloyal inclusion and retention of the
26   TIAA Real Estate Account caused the Plans to lose millions of dollars compared to
27   what the Plans would have earned had the same amount of assets been invested in
28
                                            - 53 -
                                         COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 54 of 70 Page ID #:54



 1   the Vanguard REIT Index.30
 2
                               ERISA’S FIDUCIARY STANDARDS
 3
               129. ERISA imposes strict fiduciary duties of loyalty and prudence upon
 4
     the Defendants as fiduciaries of the Plans. 29 U.S.C. §1104(a)(1), states, in relevant
 5
     part, that:
 6
               [A] fiduciary shall discharge his duties with respect to a plan
 7
               solely in the interest of the participants and beneficiaries and –
 8
               (A)   for the exclusive purpose of:
 9
                     (i) providing benefits to participants and their
10
               beneficiaries; and
11
                     (ii) defraying reasonable expenses of administering the
12
                     plan; [and]
13
               (B)   with the care, skill, prudence, and diligence under the
14
                     circumstances then prevailing that a prudent man acting in
15
                     a like capacity and familiar with such matters would use
16
                     in the conduct of an enterprise of like character and with
17
                     like aims.
18
               130. Under 29 U.S.C. §1103(c)(1), with certain exceptions not relevant
19
     here,
20
               the assets of a plan shall never inure to the benefit of any
21
               employer and shall be held for the exclusive purposes of
22
               providing benefits to participants in the plan and their
23
               beneficiaries and defraying reasonable expenses of
24
               administering the plan.
25
     //
26
27        30
         Plan losses have been brought forward to the present value using the
     investment returns of the Vanguard REIT Index (Inst) to compensate participants
28   who have not been reimbursed for their losses.
                                           - 54 -
                                      COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 55 of 70 Page ID #:55



 1         131. Under ERISA, fiduciaries that exercise any authority or control over
 2   plan assets, including the selection of plan investments and service providers, must
 3   act prudently and solely in the interest of participants in the plan.
 4         132. ERISA also imposes explicit co-fiduciary liabilities on plan
 5   fiduciaries. 29 U.S.C. §1105(a) provides a cause of action against a fiduciary for
 6   knowingly participating in a breach by another fiduciary and knowingly failing to
 7   cure any breach of duty. The statute states, in relevant part, that:
 8         In addition to any liability which he may have under any other
 9         provisions of this part, a fiduciary with respect to a plan shall be
10         liable for a breach of fiduciary responsibility of another
11         fiduciary with respect to the same plan in the following
12         circumstances:
13                (1)    if he participates knowingly in, or knowingly
14                       undertakes to conceal, an act or omission of such
15                       other fiduciary, knowing such act or omission is a
16                       breach; [or]
17                (2)    if, by his failure to comply with section 1104(a)(1)
18                       of this title in the administration of his specific
19                       responsibilities which give rise to his status as a
20                       fiduciary, he has enabled such other fiduciary to
21                       commit a breach; or
22                (3)    if he has knowledge of a breach by such other
23                       fiduciary, unless he makes reasonable efforts under
24                       the circumstances to remedy the breach.
25         133. 29 U.S.C. §1132(a)(2) authorizes a plan participant to bring a civil
26   action for appropriate relief under 29 U.S.C. §1109. Section 1109(a) provides in
27   relevant part:
28         Any person who is a fiduciary with respect to a plan who
                                          - 55 -
                                      COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 56 of 70 Page ID #:56



 1         breaches any of the responsibilities, obligations, or duties
 2         imposed upon fiduciaries by this subchapter shall be personally
 3         liable to make good to such plan any losses to the plan resulting
 4         from each such breach, and to restore to such plan any profits of
 5         such fiduciary which have been made through use of assets of
 6         the plan by the fiduciary, and shall be subject to such other
 7         equitable or remedial relief as the court may deem appropriate,
 8         including removal of such fiduciary.
 9
                              CLASS ACTION ALLEGATIONS
10
           134. 29 U.S.C. §1132(a)(2) authorizes any participant or beneficiary of the
11
     Plans to bring an action individually on behalf of the Plans to enforce a breaching
12
     fiduciary’s liability to the Plans under 29 U.S.C. §1109(a).
13
           135. In acting in this representative capacity and to enhance the due process
14
     protections of unnamed participants and beneficiaries of the Plans, as an alternative
15
     to direct individual actions on behalf of the Plans under 29 U.S.C. §1132(a)(2) and
16
     (3), Plaintiffs seek to certify this action as a class action on behalf of all participants
17
     and beneficiaries of the Plans. Plaintiffs seek to certify, and to be appointed as
18
     representatives of, the following class:
19
           All participants and beneficiaries of the University of Southern
20
           California Defined Contribution Retirement Plan and the
21
           University of Southern California Tax-Deferred Annuity Plan
22
           from August 17, 2010, through the date of judgment, excluding
23
           the Defendants or any participant who is a fiduciary to the Plans.
24
           136. This action meets the requirements of Rule 23 and is certifiable as a
25
     class action for the following reasons:
26
                  a.     The Class includes over 28,000 members and is so large that
27
           joinder of all its members is impracticable.
28
                                             - 56 -
                                          COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 57 of 70 Page ID #:57



 1               b.     There are questions of law and fact common to this Class
 2         because the Defendants owed fiduciary duties to the Plans and to all
 3         participants and beneficiaries and took the actions and omissions alleged
 4         herein as to the Plans and not as to any individual participant. Thus, common
 5         questions of law and fact include the following, without limitation: who are
 6         the fiduciaries liable for the remedies provided by 29 U.S.C. §1109(a);
 7         whether the fiduciaries of the Plans breached their fiduciary duties to the
 8         Plans; what are the losses to the Plans resulting from each breach of fiduciary
 9         duty; and what Plan-wide equitable and other relief the court should impose
10         in light of Defendants’ breach of duty.
11               c.     Plaintiffs’ claims are typical of the claims of the Class because
12         each Plaintiff was a participant during the time period at issue in this action
13         and all participants in the Plans were harmed by Defendants’ misconduct.
14               d.     Plaintiffs are adequate representatives of the Class because they
15         were participants in the Plans during the Class period, have no interest that is
16         in conflict with the Class, are committed to the vigorous representation of the
17         Class, and have engaged experienced and competent attorneys to represent
18         the Class.
19               e.     Prosecution of separate actions for these breaches of fiduciary
20         duties by individual participants and beneficiaries would create the risk of
21         (A) inconsistent or varying adjudications that would establish incompatible
22         standards of conduct for Defendants in respect to the discharge of their
23         fiduciary duties to the Plans and personal liability to the Plans under 29
24         U.S.C. §1109(a), and (B) adjudications by individual participants and
25         beneficiaries regarding these breaches of fiduciary duties and remedies for
26         the Plans would, as a practical matter, be dispositive of the interests of the
27         participants and beneficiaries not parties to the adjudication or would
28         substantially impair or impede those participants’ and beneficiaries’ ability to
                                            - 57 -
                                       COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 58 of 70 Page ID #:58



 1         protect their interests. Therefore, this action should be certified as a class
 2         action under Rule 23(b)(1)(A) or (B).
 3         137. A class action is the superior method for the fair and efficient
 4   adjudication of this controversy because joinder of all participants and beneficiaries
 5   is impracticable, the losses suffered by individual participants and beneficiaries
 6   may be small and impracticable for individual members to enforce their rights
 7   through individual actions, and the common questions of law and fact predominate
 8   over individual questions. Given the nature of the allegations, no class member has
 9   an interest in individually controlling the prosecution of this matter, and Plaintiffs
10   are aware of no difficulties likely to be encountered in the management of this
11   matter as a class action. Alternatively, then, this action may be certified as a class
12   under Rule 23(b)(3) if it is not certified under Rule 23(b)(1)(A) or (B).
13         138. Plaintiffs’ counsel, Schlichter, Bogard & Denton LLP, will fairly and
14   adequately represent the interests of the Class and is best able to represent the
15   interests of the Class under Rule 23(g).
16                a.     Schlichter, Bogard & Denton has been appointed as class
17         counsel in 15 other ERISA class actions regarding excessive fees in large
18         defined contribution plans. As a district court in one of those cases recently
19         observed: “the firm of Schlichter, Bogard & Denton ha[s] demonstrated its
20         well-earned reputation as a pioneer and the leader in the field”. Abbott v.
21         Lockheed Martin Corp., No. 06-701, 2015 U.S.Dist.LEXIS 93206 at 4 (S.D.
22         Ill. July 17, 2015). Other courts have made similar findings: “It is clear to the
23         Court that the firm of Schlichter, Bogard & Denton is preeminent in the
24         field” of 401(k) fee litigation “and is the only firm which has invested such
25         massive resources in this area.” George v. Kraft Foods Global, Inc., No. 08-
26         3799, 2012 U.S.Dist.LEXIS 166816 at 8 (N.D. Ill. June 26, 2012). “As the
27         preeminent firm in 401(k) fee litigation, Schlichter, Bogard & Denton has
28         achieved unparalleled results on behalf of its clients.” Nolte v. Cigna Corp.,
                                            - 58 -
                                       COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 59 of 70 Page ID #:59



 1         No. 07-2046, 2013 U.S.Dist.LEXIS 184622 at 8 (C.D. Ill. Oct. 15, 2013).
 2         “Litigating this case against formidable Defendants and their sophisticated
 3         attorneys required Class Counsel to demonstrate extraordinary skill and
 4         determination.” Beesley v. Int’l Paper Co., No. 06-703, 2014
 5         U.S.Dist.LEXIS 12037 at 8 (S.D. Ill. Jan. 31, 2014).
 6               b.     The U.S. District Court Judge G. Patrick Murphy recognized the
 7         work of Schlichter, Bogard & Denton as exceptional:
 8               Schlichter, Bogard & Denton’s work throughout this
 9               litigation illustrates an exceptional example of a private
10               attorney general risking large sums of money and
11               investing many thousands of hours for the benefit of
12               employees and retirees. No case had previously been
13               brought by either the Department of Labor or private
14               attorneys against large employers for excessive fees in a
15               401(k) plan. Class Counsel performed substantial work[,]
16               investigating the facts, examining documents, and
17               consulting and paying experts to determine whether it was
18               viable. This case has been pending since September 11,
19               2006. Litigating the case required Class Counsel to be of
20               the highest caliber and committed to the interests of the
21               participants and beneficiaries of the General Dynamics
22               401(k) Plan.
23         Will v. General Dynamics Corp., No. 06-698, 2010 U.S.Dist.LEXIS 123349
24         at 8–9 (S.D. Ill. Nov. 22, 2010).
25               c.     Schlichter, Bogard & Denton handled the only full trial of an
26         ERISA excessive fee case, resulting in a $36.9 million judgment for the
27         plaintiffs that was affirmed in part by the Eighth Circuit. Tussey v. ABB, Inc.,
28         746 F.3d 327 (8th Cir. 2014). In awarding attorney’s fees after trial, the
                                            - 59 -
                                      COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 60 of 70 Page ID #:60



 1         district court concluded that “Plaintiffs’ attorneys are clearly experts in
 2         ERISA litigation.” Tussey v. ABB, Inc., No. 06-4305, 2012 U.S.Dist.LEXIS
 3         157428 at 10 (W.D. Mo. Nov. 2, 2012). Following remand, the district court
 4         again awarded Plaintiffs’ attorney’s fees, emphasizing the significant
 5         contribution Plaintiffs’ attorneys have made to ERISA litigation, including
 6         educating the Department of Labor and federal courts about the importance
 7         of monitoring fees in retirement plans.
 8               Of special importance is the significant, national
 9               contribution made by the Plaintiffs whose litigation
10               clarified ERISA standards in the context of investment
11               fees. The litigation educated plan administrators, the
12               Department of Labor, the courts and retirement plan
13               participants about the importance of monitoring
14               recordkeeping fees and separating a fiduciary’s corporate
15               interest from its fiduciary obligations.
16         2015 U.S.Dist.LEXIS 164818 at 7–8 (W.D. Mo. Dec. 9, 2015).
17               d.     Schlichter, Bogard & Denton is also class counsel in and
18         handled Tibble v. Edison Int’l, 135 S. Ct. 1823 (2015), in which the Supreme
19         Court held in a unanimous 9–0 decision that ERISA fiduciaries have “a
20         continuing duty to monitor investments and remove imprudent ones[.]” Id. at
21         1829. Schlichter, Bogard & Denton successfully petitioned for a writ of
22         certiorari, and obtained amicus support from the United States Solicitor
23         General and AARP, among others. Given the Court’s broad recognition of an
24         ongoing fiduciary duty, the Tibble decision will affect all ERISA defined
25         contribution plans.
26               e.     The firm’s work in ERISA excessive fee class actions has been
27         featured in the New York Times, Wall Street Journal, NPR, Reuters, and
28         Bloomberg, among other media outlets. See, e.g., Anne Tergesen, 401(k)
                                        - 60 -
                                   COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 61 of 70 Page ID #:61



 1             Fees, Already Low, Are Heading Lower, WALL ST. J. (May 15, 2016);31
 2             Gretchen Morgenson, A Lone Ranger of the 401(k)’s, N.Y. TIMES (Mar. 29,
 3             2014);32 Liz Moyer, High Court Spotlight Put on 401(k) Plans, WALL ST. J.
 4             (Feb. 23, 2015);33 Floyd Norris, What a 401(k) Plan Really Owes Employees,
 5             N.Y. TIMES (Oct. 16, 2014);34 Sara Randazzo, Plaintiffs’ Lawyer Takes on
 6             Retirement Plans, WALL ST. J. (Aug. 25, 2015);35 Jess Bravin and Liz Moyer,
 7             High Court Ruling Adds Protections for Investors in 401(k) Plans, WALL ST.
 8             J. (May 18, 2015); 36 Jim Zarroli, Lockheed Martin Case Puts 401(k) Plans
 9             on Trial, NPR (Dec. 15, 2014);37 Mark Miller, Are 401(k) Fees Too High?
10             The High Court May Have an Opinion, REUTERS (May 1, 2014);38 Greg
11             Stohr, 401(k) Fees at Issue as Court Takes Edison Worker Appeal,
12             BLOOMBERG (Oct. 2, 2014).39
13                                           COUNT I
14   Breach of Duties of Loyalty and Prudence—Unreasonable Administrative Fees
15             139. Plaintiffs restate and incorporate the allegations in the preceding
16   paragraphs.
17   //
18
          31
19         Available at http://www.wsj.com/articles/401-k-fees-already-low-are-heading-
20   lower-1463304601.
        32
           Available at http://www.nytimes.com/2014/03/30/business/a-lone-ranger-of-
21   the-401-k-s.html?_r=0.
        33
           Available at http://www.wsj.com/articles/high-court-spotlight-put-on-401-k-
22   plans-1424716527.
        34
           Available at http://www.nytimes.com/2014/10/17/business/what-a-401-k-plan-
23   really-owes-employees.html?_r=0.
        35
           Available at http://blogs.wsj.com/law/2015/08/25/plaintiffs-lawyer-takes-on-
24   retirement-plans/.
        36
           Available at http://www.wsj.com/articles/high-court-ruling-adds-protections-
25   for-investors-in-401-k-plans-1431974139.
        37
           Available at http://www.npr.org/2014/12/15/370794942/lockheed-martin-case-
26   puts-401-k-plans-on-trial.
        38
           Available at http://www.reuters.com/article/us-column-miller-401fees-
27   idUSBREA400J220140501.
        39
           Available at http://www.bloomberg.com/news/articles/2014-10-02/401-k-fees-
28   at-issue-as-court-takes-edison-worker-appeal.
                                              - 61 -
                                          COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 62 of 70 Page ID #:62



 1         140. The scope of the fiduciary duties and responsibilities of the Defendants
 2   includes discharging their duties with respect to the Plans solely in the interest of,
 3   and for the exclusive purpose of providing benefits to, the Plans’ participants and
 4   beneficiaries, defraying reasonable expenses of administering the Plans, and acting
 5   with the care, skill, prudence, and diligence required by ERISA.
 6         141. If a defined contribution plan overpays for recordkeeping services due
 7   to the fiduciaries’ “failure to solicit bids” from other recordkeepers, the fiduciaries
 8   have breached their duty of prudence. See George v. Kraft Foods Global, Inc., 641
 9   F.3d 786, 798–99 (7th Cir. 2011). Similarly, “us[ing] revenue sharing to benefit
10   [the plan sponsor and recordkeeper] at the Plans’ expense” while “failing to
11   monitor and control recordkeeping fees” and “paying excessive revenue sharing” is
12   a breach of fiduciary duties. Tussey, 746 F.3d at 336.
13         142. Defendants failed to engage in a prudent and loyal process for
14   selecting and retaining a recordkeeper. Rather than consolidating the Plans’
15   administrative and recordkeeping services under a single service provider,
16   Defendants retained four and then three recordkeepers to provide recordkeeping
17   and administrative services. This failure to consolidate the recordkeeping services
18   eliminated the Plans’ ability to obtain the same services at a lower cost with a single
19   recordkeeper. This conduct was a breach of the duties of loyalty and prudence.
20         143. Moreover, Defendants failed to solicit competitive bids from vendors
21   on a flat per-participant fee. Defendants allowed the Plans’ recordkeepers to receive
22   asset-based revenue sharing and hard dollar fees, but failed to monitor those
23   payments to ensure that only reasonable compensation was received for the services
24   provided to the Plans. As the amount of assets grew, the revenue sharing payments
25   to the Plans’ recordkeepers grew, even though the services provided by the
26   recordkeepers remained the same. This caused the recordkeeping compensation
27   paid to the recordkeepers to exceed a reasonable fee for the services provided. This
28   conduct was a breach of the duties of loyalty and prudence.
                                             - 62 -
                                       COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 63 of 70 Page ID #:63



 1         144. Total Plan losses will be determined after complete discovery in this
 2   case and are continuing.
 3         145. Defendants are personally liable under 29 U.S.C. §1109(a) to make
 4   good to the Plans any losses to the Plans resulting from the breaches of fiduciary
 5   duties alleged in this Count and are subject to other equitable or remedial relief as
 6   appropriate.
 7         146. Each Defendant knowingly participated in the breach of the other
 8   Defendants, knowing that such acts were a breach, enabled the other Defendants to
 9   commit a breach by failing to lawfully discharge its own fiduciary duties, knew of
10   the breach by the other Defendants and failed to make any reasonable effort under
11   the circumstances to remedy the breach. Thus, each Defendant is liable for the
12   losses caused by the breach of its co-fiduciary under 29 U.S.C. §1105(a).
13                                        COUNT II
14        Breach of Duties of Loyalty and Prudence—Unreasonable Investment
15                           Management Fees and Performance Losses
16         147. Plaintiffs restate and incorporate the allegations contained in the
17   preceding paragraphs.
18         148. The scope of the fiduciary duties and responsibilities of the Defendants
19   includes managing the assets of the Plans for the sole and exclusive benefit of the
20   Plans’ participants and beneficiaries, defraying reasonable expenses of
21   administering the Plans, and acting with the care, skill, diligence, and prudence
22   required by ERISA. Defendants are directly responsible for ensuring that the Plans’
23   fees are reasonable, selecting prudent investment options, evaluating and
24   monitoring the Plans’ investments on an ongoing basis and eliminating imprudent
25   ones, and taking all necessary steps to ensure that the Plans’ assets are invested
26   prudently.
27   //
28   //
                                           - 63 -
                                        COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 64 of 70 Page ID #:64



 1         149. As the Supreme Court recently confirmed, ERISA’s “duty of prudence
 2   involves a continuing duty to monitor investments and remove imprudent ones[.]”
 3   Tibble, 135 S. Ct. at 1829.
 4         150. Defendants selected and retained as Plan investment options mutual
 5   funds and insurance company variable annuities with far higher expenses and poor
 6   performance relative to other investment options that were readily available to the
 7   Plans at all relevant times.
 8         151. Rather than consolidating the Plans’ over 340 investment options into
 9   a core investment lineup in which prudent investments were selected for a given
10   asset class and investment style, as is the case with most defined contribution plans,
11   Defendants retained duplicative investment options in each asset class and
12   investment style, thereby depriving the Plans of their ability to qualify for lower-
13   cost share classes of certain investments, while violating the well-known principle
14   for fiduciaries that such a high number of investment options causes participant
15   confusion. In addition, Defendants, as fiduciaries charged with operating as a
16   prudent financial expert, Katsaros v. Cody, 744 F.2d 270, 279 (2d Cir. 1984), knew
17   or should have known that providing numerous actively managed duplicative funds
18   in the same investment style would produce a “shadow index” return before
19   accounting for much higher fees than index fund fees, thereby resulting in
20   significant underperformance. The Plans’ investment offerings included the use of
21   mutual funds and variable annuities with expense ratios far in excess of other
22   lower-cost options available to the Plans, including lower-cost share class mutual
23   funds with the identical investment manager and investments and lower-cost
24   insurance company separate accounts. In so doing, Defendants failed to make
25   investment decisions for the Plans based solely on the merits of the investment
26   funds and what was in the interest of participants. Defendants, therefore, failed to
27   discharge their duties with respect to the Plans solely in the interest of the
28   participants and beneficiaries and for the exclusive purpose of providing benefits to
                                              - 64 -
                                        COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 65 of 70 Page ID #:65



 1   participants and their beneficiaries and defraying reasonable expenses of
 2   administering the Plans. Therefore, Defendants breached their fiduciary duty of
 3   loyalty under 29 U.S.C. §1104(a)(1)(A).
 4         152. The same conduct by Defendants shows a failure to discharge their
 5   duties with respect to the Plans with the care, skill, prudence, and diligence under
 6   the circumstances then prevailing that a prudent man acting in a like capacity and
 7   familiar with such matters would use in the conduct of an enterprise of like
 8   character and with like aims. Defendants, therefore, breached their fiduciary duty of
 9   prudence under 29 U.S.C. §1104(a)(1)(B).
10         153. Defendants failed to engage in a prudent process for the selection and
11   retention of Plan investment options. Rather, Defendants used more expensive
12   funds with inferior historical performance than investments that were available to
13   the Plans.
14         154. CREF Stock Account: Defendants selected and retained the CREF
15   Stock Account despite its excessive cost and historical underperformance compared
16   to both passively managed and actively managed investments with similar
17   underlying asset allocations.
18         155. TIAA Real Estate Account: Defendants selected and retained the
19   TIAA Real Estate Account for the real estate investment in the Plans despite its
20   excessive fees and historical underperformance compared to lower-cost real estate
21   investments.
22         156. Had a prudent and loyal fiduciary conducted a prudent process for the
23   retention of investment options, it would have concluded that the Plans’ investment
24   options were retained for reasons other than the best interest of the Plans and their
25   participants and were causing the Plans to lose tens of millions of dollars of
26   participants’ retirement savings in excessive and unreasonable fees and
27   underperformance relative to prudent investment options available to the Plans.
28   //
                                           - 65 -
                                        COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 66 of 70 Page ID #:66



 1         157. Total Plan losses will be determined after complete discovery in this
 2   case and are continuing.
 3         158. Defendants are personally liable under 29 U.S.C. §1109(a) to make
 4   good to the Plans any losses to the Plans resulting from the breaches of fiduciary
 5   duties alleged in this Count and are subject to other equitable or remedial relief as
 6   appropriate.
 7         159. Each Defendant knowingly participated in the breach of the other
 8   Defendants, knowing that such acts were a breach, enabled the other Defendants to
 9   commit a breach by failing to lawfully discharge its own fiduciary duties, knew of
10   the breach by the other Defendants and failed to make any reasonable effort under
11   the circumstances to remedy the breach. Thus, each Defendant is liable for the
12   losses caused by the breach of its co-fiduciary under 29 U.S.C. §1105(a).
13                                        COUNT III
14                              Failure to Monitor Fiduciaries
15         160. Plaintiffs restate and incorporate the allegations contained in the
16   preceding paragraphs.
17         161. Upon information and belief, USC is the named fiduciary with the
18   overall responsibility for the control, management and administration of the Plans,
19   in accordance with 29 U.S.C. §1102(a). USC is the Plan Administrator of the Plans
20   under 29 U.S.C. §1002(16)(A)(i) with exclusive responsibility and complete
21   discretionary authority to control the operation, management and administration of
22   the Plans, with all powers necessary to enable it to properly carry out such
23   responsibilities, including the selection and compensation of the providers of
24   administrative services to the Plans and the selection, monitoring, and removal of
25   the investment options made available to participants for the investment of their
26   contributions and provision of their retirement income.
27         162. Given that USC had the overall responsibility for the oversight of the
28   Plans, USC had a fiduciary responsibility to monitor the performance of the other
                                            - 66 -
                                      COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 67 of 70 Page ID #:67



 1   fiduciaries, including those delegated fiduciary responsibility to administer and
 2   manage Plan assets.
 3         163. A monitoring fiduciary must ensure that its monitored fiduciaries are
 4   performing their fiduciary obligations, including those with respect to the
 5   investment and holding of plan assets, and must take prompt and effective action to
 6   protect the plan and participants when they are not.
 7         164. USC breached its fiduciary monitoring duties by, among other things:
 8                      a.     Failing to monitor its appointees, to evaluate their
 9                performance, or to have a system in place for doing so, and standing
10                idly by as the Plans suffered enormous losses as a result of its
11                appointees’ imprudent actions and omissions with respect to the Plans;
12                      b.     Failing to monitor its appointees’ fiduciary process,
13                which would have alerted any prudent fiduciary to the potential breach
14                because of the excessive administrative and investment management
15                fees and consistent underperformance of Plan investments in violation
16                of ERISA;
17                      c.     Failing to ensure that the monitored fiduciaries had a
18                prudent process in place for evaluating the Plans’ administrative fees
19                and ensuring that the fees were competitive, including a process to
20                identify and determine the amount of all sources of compensation to
21                the Plans’ recordkeeper and the amount of any revenue sharing
22                payments; a process to prevent the recordkeeper from receiving
23                revenue sharing that would increase the recordkeeper’s compensation
24                to unreasonable levels even though the services provided remained the
25                same; and a process to periodically obtain competitive bids to
26                determine the market rate for the services provided to the Plans;
27                      d.     Failing to ensure that the monitored fiduciaries considered
28                the ready availability of comparable and better performing investment
                                              - 67 -
                                        COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 68 of 70 Page ID #:68



 1                    options that charged significantly lower fees and expenses than the
 2                    Plans’ mutual fund and insurance company variable annuity options;
 3                    and
 4                          e.     Failing to remove appointees whose performance was
 5                    inadequate in that they continued to maintain imprudent, excessive
 6                    cost, and poorly performing investments, all to the detriment of Plan
 7                    participants’ retirement savings.
 8            165. Had USC discharged its fiduciary monitoring duties prudently as
 9   described above, the losses suffered by the Plans would have been minimized or
10   avoided. Therefore, as a direct result of the breaches of fiduciary duty alleged
11   herein, the Plans, the Plaintiffs, and the other Class members, lost tens of millions
12   of dollars of retirement savings.
13                                  JURY TRIAL DEMANDED
14            166. Pursuant to Fed. R. Civ. P. 38 and the Constitution of the United
15   States, Plaintiffs demand a trial by jury.
16                                    PRAYER FOR RELIEF
17             For these reasons, Plaintiffs, on behalf of the Plans and all similarly
18   situated participants of the Plans and beneficiaries, respectfully request that the
19   Court:
20                 Find and declare that the Defendants have breached their fiduciary
21                     duties as described above;
22                    Find and adjudge that Defendants are personally liable to make good
23                     to the Plans all losses to the Plans resulting from each breach of
24                     fiduciary duties, and to otherwise restore the Plans to the position it
25                     would have occupied but for the breaches of fiduciary duty;
26                    Determine the method by which Plans’ losses under 29 U.S.C.
27                     §1109(a) should be calculated;
28
                                              - 68 -
                                           COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 69 of 70 Page ID #:69



 1                 Order Defendants to provide all accountings necessary to determine
 2                  the amounts Defendants must make good to the Plans under
 3                  §1109(a);
 4                 Remove the fiduciaries who have breached their fiduciary duties and
 5                  enjoin them from future ERISA violations;
 6                 Surcharge against Defendants and in favor of the Plans all amounts
 7                  involved in any transactions which such accounting reveals were
 8                  improper, excessive and/or in violation of ERISA;
 9                 Reform the Plans to include only prudent investments;
10                 Reform the Plans to obtain bids for recordkeeping and to pay only
11                  reasonable recordkeeping expenses;
12                 Certify the Class, appoint each of the Plaintiffs as a class
13                  representative, and appoint Schlichter, Bogard & Denton LLP as
14                  Class Counsel;
15                 Award to the Plaintiffs and the Class their attorney’s fees and costs
16                  under 29 U.S.C. §1132(g)(1) and the common fund doctrine;
17                 Order the payment of interest to the extent it is allowed by law; and
18               Grant other equitable or remedial relief as the Court deems
19                  appropriate.
20
     August 17, 2016                  Respectfully submitted,
21
22                                    s/ Jerome J. Schlichter
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23
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27
                                      Attorneys for Plaintiffs
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                                           - 69 -
                                        COMPLAINT
Case 2:16-cv-06191-VAP-E Document 1 Filed 08/17/16 Page 70 of 70 Page ID #:70



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